   Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 1 of 49




                                                                            EXHIBIT 13
                    Updated Small Firm Template
                            [Firm Name]
               Anti-Money Laundering (AML) Program:
                Compliance and Supervisory Procedures


UPDATED AS OF JANUARY 1, 2010

This template is provided to assist small firms in fulfilling their responsibilities to
establish an Anti-Money Laundering (AML) Program as required by the Bank Secrecy
Act (BSA) and its implementing regulations and FINRA Rule 3310 (AML Compliance
Program). Nothing in this template creates any new requirements for AML programs.
Furthermore, following this template does not guarantee compliance with AML
Program requirements or provide a safe harbor from regulatory responsibility.
There is no exemption from the AML rules for small broker-dealers.

Your firm’s AML program should be “risk-based.” That means that the program’s AML
policies, procedures and internal controls should be designed to address the risk of money
laundering specific to your firm. Your firm can identify that risk by looking at the type of
customers it serves, where its customers are located, and the types of services it offers. It
is a good practice to develop a written analysis of your firm’s money laundering and
terrorist financing risk and how your firm’s AML procedures manage that risk. This
“risk-assessment” will help to ensure that the AML program is the right one for your firm
and is a useful tool for demonstrating to your firm’s examiner that the firm used a
reasonable approach for designing its AML program.

In addition, where certain AML rules may be inapplicable due to the limited nature of
your firm’s business, FINRA expects your firm to have internal controls in place to
identify when circumstances change in such a way as to trigger previously inapplicable
AML requirements and to amend your AML policies and procedures to accurately reflect
all AML requirements that are applicable to your business. For example, a firm with no
customer accounts within the definition of the Customer Identification Program (CIP)
rule would not be expected to have a CIP. However, the firm must have procedures in
place to identify when the firm’s business activities have shifted in such a way as to
require compliance with the CIP rule. In addition, notwithstanding the fact that the firm
does not have accounts for CIP purposes, the firm is expected to identify and develop
procedures for any additional AML requirements that do apply (e.g., suspicious activity
monitoring and reporting).

The language in this template is provided only as a helpful starting point to walk you
through developing your firm’s program. If any of the language does not adequately
address your firm’s business situation in any respect, you will need to prepare your own


                                             1
     Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 2 of 49




language. You are responsible for ensuring that the program fits your firm’s risk level
and that you implement the program.

TEXT EXAMPLES are provided to give you sample language that you can modify, as
necessary, to fit your firm’s needs in creating your firm’s program.

Material in italics provides instructions and citations to the relevant rules, and other
resources that you can use to develop your firm’s program.

The FINRA AML Web page includes important information and links to other Web sites
with useful information. You should also consult the Web sites maintained by the
Financial Crimes Enforcement Network (FinCEN) and the Securities and Exchange
Commission (SEC), including the SEC’s AML Source Tool and Spotlight on AML
Rulemaking for additional information and guidance. For historical guidance and
background, you may wish to consult NASD Notices to Members (NTM) 02-21, 02-47,
02-50, 02-78, 02-80, 03-34 and 06-07, which provide extensive guidance on setting up
AML programs and related relevant information about firms’ AML obligations. In
addition, FinCEN has a mechanism in place by which firms can electronically fulfill their
BSA reporting requirements (BSA E-Filing System). We strongly encourage firms to use
the BSA E-Filing System.



1.      Firm Policy

TEXT EXAMPLE: It is the policy of the firm to prohibit and actively prevent money
laundering and any activity that facilitates money laundering or the funding of terrorist or
criminal activities by complying with all applicable requirements under the Bank Secrecy
Act (BSA) and its implementing regulations.

Money laundering is generally defined as engaging in acts designed to conceal or
disguise the true origins of criminally derived proceeds so that the proceeds appear to
have derived from legitimate origins or constitute legitimate assets. Generally, money
laundering occurs in three stages. Cash first enters the financial system at the "placement"
stage, where the cash generated from criminal activities is converted into monetary
instruments, such as money orders or traveler's checks, or deposited into accounts at
financial institutions. At the "layering" stage, the funds are transferred or moved into
other accounts or other financial institutions to further separate the money from its
criminal origin. At the "integration" stage, the funds are reintroduced into the economy
and used to purchase legitimate assets or to fund other criminal activities or legitimate
businesses.

Terrorist financing may not involve the proceeds of criminal conduct, but rather an
attempt to conceal either the origin of the funds or their intended use, which could be for
criminal purposes. Legitimate sources of funds are a key difference between terrorist


                                              2
     Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 3 of 49




financiers and traditional criminal organizations. In addition to charitable donations,
legitimate sources include foreign government sponsors, business ownership and personal
employment. Although the motivation differs between traditional money launderers and
terrorist financiers, the actual methods used to fund terrorist operations can be the same
as or similar to methods used by other criminals to launder funds. Funding for terrorist
attacks does not always require large sums of money and the associated transactions may
not be complex.

Our AML policies, procedures and internal controls are designed to ensure compliance
with all applicable BSA regulations and FINRA rules and will be reviewed and updated
on a regular basis to ensure appropriate policies, procedures and internal controls are in
place to account for both changes in regulations and changes in our business.

Rules: 31 C.F.R. § 103.120(c); FINRA Rule 3310.

2.      AML Compliance Person Designation and Duties
Designate your firm’s AML Compliance Person and describe his or her duties.

TEXT EXAMPLE: The firm has designated [Name] as its Anti-Money Laundering
Program Compliance Person (AML Compliance Person), with full responsibility for the
firm’s AML program. [Name] has a working knowledge of the BSA and its implementing
regulations and is qualified by experience, knowledge and training, including [describe].
The duties of the AML Compliance Person will include monitoring the firm’s compliance
with AML obligations, overseeing communication and training for employees, and [add
any other duties your firm will assign to the AML Compliance Person; review NASD
Rules 1021 and 1031 for any applicable registration requirements]. The AML
Compliance Person will also ensure that the firm keeps and maintains all of the required
AML records and will ensure that Suspicious Activity Reports (SAR-SFs) are filed with
the Financial Crimes Enforcement Network (FinCEN) when appropriate. The AML
Compliance Person is vested with full responsibility and authority to enforce the firm’s
AML program.

The firm will provide FINRA with contact information for the AML Compliance Person,
including: (1) name; (2) title; (3) mailing address; (4) email address; (5) telephone
number; and (6) facsimile number through the FINRA Contact System (FCS). The firm
will promptly notify FINRA of any change in this information through FCS and will
review, and if necessary update, this information within 17 business days after the end of
each calendar year. The annual review of FCS information will be conducted by [Name]
and will be completed with all necessary updates being provided no later than 17 business
days following the end of each calendar year. In addition, if there is any change to the
information, [Name] will update the information promptly, but in any event not later than
30 days following the change.

Rules: 31 C.F.R. § 103.120; FINRA Rule 3310, NASD Rule 1160.




                                             3
     Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 4 of 49




Resources: NTM 06-07; NTM 02-78. Firms can submit their AML Compliance Person
information through FINRA's FCS Web page.


3.      Giving AML Information to Federal Law Enforcement Agencies
        and Other Financial Institutions
        a.    FinCEN Requests Under USA PATRIOT Act Section 314(a)

Pursuant to the BSA and its implementing regulations, financial institutions are required
to make certain searches of their records upon receiving an information request from
FinCEN. Describe your firm’s procedures for FinCEN requests for information on money
laundering or terrorist activity.

In order for a firm to obtain information requests from FinCEN, the firm must first
designate an AML Contact Person in FCS. You should be aware that if you want to
change the person who receives FinCEN requests, you must change the AML contact
information in FCS. When you are faced with a change in personnel who will receive this
information, you should be aware that FinCEN receives a data feed of this revised
information from FCS every other week and that it may take several weeks for a firm’s
new AML contact person to receive information from FinCEN. Therefore, it is advisable
for a firm that is aware that a person who had been receiving FinCEN is leaving the firm
to change the information on FCS as soon as practical to ensure continuity of receiving
FinCEN information.

TEXT EXAMPLE: We will respond to a Financial Crimes Enforcement Network
(FinCEN) request concerning accounts and transactions (a 314(a) Request) by
immediately searching our records to determine whether we maintain or have maintained
any account for, or have engaged in any transaction with, each individual, entity or
organization named in the 314(a) Request as outlined in the Frequently Asked Questions
(FAQ) located on FinCEN’s secure Web site. We understand that we have 14 days
(unless otherwise specified by FinCEN) from the transmission date of the request to
respond to a 314(a) Request. We will designate through the FINRA Contact System
(FCS) one or more persons to be the point of contact (POC) for 314(a) Requests and will
promptly update the POC information following any change in such information. (See
also Section 2 above regarding updating of contact information for the AML Compliance
Person.) Unless otherwise stated in the 314(a) Request or specified by FinCEN, we are
required to search those documents outlined in FinCEN’s FAQ. If we find a match,
[Name] will report it to FinCEN via FinCEN’s Web-based 314(a) Secure Information
Sharing System within 14 days or within the time requested by FinCEN in the request. If
the search parameters differ from those mentioned above (for example, if FinCEN limits
the search to a geographic location), [Name] will structure our search accordingly.

If [Name] searches our records and does not find a matching account or transaction, then
[Name] will not reply to the 314(a) Request. We will maintain documentation that we
have performed the required search by [add the details on how your firm will document



                                            4
   Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 5 of 49




its searches here. For example, printing a search self-verification document from
FinCEN’s 314(a) Secure Information Sharing System confirming that your firm has
searched the 314(a) subject information against your records OR maintaining a log
showing the date of the request, the number of accounts searched, the name of the
individual conducting the search and a notation of whether or not a match was found].

We will not disclose the fact that FinCEN has requested or obtained information from us,
except to the extent necessary to comply with the information request. [Name] will
review, maintain and implement procedures to protect the security and confidentiality of
requests from FinCEN similar to those procedures established to satisfy the requirements
of Section 501 of the Gramm-Leach-Bliley Act with regard to the protection of
customers’ nonpublic information.

We will direct any questions we have about the 314(a) Request to the requesting federal
law enforcement agency as designated in the request.

Unless otherwise stated in the 314(a) Request, we will not be required to treat the
information request as continuing in nature, and we will not be required to treat the
periodic 314(a) Requests as a government provided list of suspected terrorists for
purposes of the customer identification and verification requirements.

Rule: 31 C.F.R. § 103.100.
Resources: FinCEN press release (2/6/03); FinCEN press release (2/12/03); NASD
Member Alert (2/14/03); FinCEN's 314(a) Fact Sheet (11/18/08). FinCEN also provides
financial institutions with General Instructions and Frequently Asked Questions relating
to 314(a) requests through the 314(a) Secured Information Sharing System or by
contacting FinCEN at (800) 949-2732.

       b.      National Security Letters

National Security Letters (NSLs) are written investigative demands that may be issued by
the local Federal Bureau of Investigation and other federal government authorities
conducting counterintelligence and counterterrorism investigations to obtain, among
other things, financial records of broker-dealers. NSLs are highly confidential. No
broker-dealer, officer, employee or agent of the broker-dealer can disclose to any
person that a government authority or the FBI has sought or obtained access to
records. Firms that receive NSLs must have policies and procedures in place for
processing and maintaining the confidentiality of NSLs. If you file a Suspicious Activity
Report (SAR-SF) after receiving a NSL, the SAR-SF should not contain any reference to
the receipt or existence of the NSL.

Resource: FinCEN SAR Activity Review, Trends, Tips & Issues, Issue 8 (National
Security Letters and Suspicious Activity Reporting) (4/2005).

       c.      Grand Jury Subpoenas




                                             5
   Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 6 of 49




Grand juries may issue subpoenas as part of their investigative proceedings. The receipt
of a grand jury subpoena does not in itself require the filing of a Suspicious Activity
Report (SAR-SF). However, broker-dealers should conduct a risk assessment of the
customer who is the subject of the grand jury subpoena, as well as review the customer’s
account activity. If suspicious activity is uncovered during this review, broker-dealers
should consider elevating the risk profile of the customer and file a SAR-SF in
accordance with the SAR-SF filing requirements. Grand jury proceedings are
confidential, and a broker-dealer that receives a subpoena is prohibited from directly or
indirectly notifying the person who is the subject of the investigation about the existence
of the grand jury subpoena, its contents or the information used to reply to it. If you file a
SAR-SF after receiving a grand jury subpoena, the SAR-SF should not contain any
reference to the receipt or existence of it. The SAR-SF should provide detailed
information about the facts and circumstances of the detected suspicious activity.

TEXT EXAMPLE: We understand that the receipt of a grand jury subpoena concerning a
customer does not in itself require that we file a Suspicious Activity Report (SAR-SF).
When we receive a grand jury subpoena, we will conduct a risk assessment of the
customer subject to the subpoena as well as review the customer’s account activity. If we
uncover suspicious activity during our risk assessment and review, we will elevate that
customer’s risk assessment and file a SAR-SF in accordance with the SAR-SF filing
requirements. We understand that none of our officers, employees or agents may directly
or indirectly disclose to the person who is the subject of the subpoena its existence, its
contents or the information we used to respond to it. To maintain the confidentiality of
any grand jury subpoena we receive, we will process and maintain the subpoena by
[describe procedure]. If we file a SAR-SF after receiving a grand jury subpoena, the
SAR-SF will not contain any reference to the receipt or existence of the subpoena. The
SAR-SF will only contain detailed information about the facts and circumstances of the
detected suspicious activity.

Resources: FinCEN SAR Activity Review, Trends, Tips & Issues, Issue 10 (Grand Jury
Subpoenas and Suspicious Activity Reporting) (5/2006).

       d.      Voluntary Information Sharing With Other Financial Institutions
               Under USA PATRIOT Act Section 314(b)

BSA regulations permit financial institutions to share information with other financial
institutions under the protection of a safe harbor if certain procedures are followed. If
your firm shares or plans to share information with other financial institutions, describe
your firm's procedures for such sharing.

TEXT EXAMPLE: We will share information with other financial institutions regarding
individuals, entities, organizations and countries for purposes of identifying and, where
appropriate, reporting activities that we suspect may involve possible terrorist activity or
money laundering. [Name] will ensure that the firm files with FinCEN an initial notice
before any sharing occurs and annual notices thereafter. We will use the notice form
found at FinCEN’s Web site. Before we share information with another financial
institution, we will take reasonable steps to verify that the other financial institution has


                                              6
    Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 7 of 49




submitted the requisite notice to FinCEN, either by obtaining confirmation from the
financial institution or by consulting a list of such financial institutions that FinCEN will
make available. We understand that this requirement applies even to financial institutions
with which we are affiliated, and that we will obtain the requisite notices from affiliates
and follow all required procedures.

We will employ strict procedures both to ensure that only relevant information is shared
and to protect the security and confidentiality of this information, for example, by
segregating it from the firm’s other books and records and [describe any other
procedures].

We also will employ procedures to ensure that any information received from another
financial institution shall not be used for any purpose other than:

•   identifying and, where appropriate, reporting on money laundering or terrorist
    activities;

•   determining whether to establish or maintain an account, or to engage in a
    transaction; or

•   assisting the financial institution in complying with performing such activities.

Rule: 31 C.F.R. § 103.110.
Resources: FinCEN Financial Institution Notification Form; FIN-2009-G002: Guidance
on the Scope of Permissible Information Sharing Covered by Section 314(b) Safe Harbor
of the USA PATRIOT Act (06/16/2009).

       e.      Joint Filing of SARs by Broker-Dealers and Other Financial
               Institutions

The obligation to identify and properly report a suspicious transaction and to timely file
a SAR-SF rests separately with each broker-dealer. However, one SAR-SF may be filed
for a suspicious activity by all broker-dealers involved in a transaction (so long as the
report filed contains all relevant and required information) if the SAR-SF is jointly filed.
In addition, if a broker-dealer and another financial institution that is subject to the SAR
regulations are involved in the same suspicious transaction, the financial institution may
also file a SAR jointly (so long as the report filed contains all relevant and required
information). For example, a broker-dealer and an insurance company may file one SAR
with respect to suspicious activity involving the sale of variable insurance products.
Disclosures that are made for the purposes of jointly filing a SAR are protected by the
safe harbor contained in the SAR regulations. The financial institutions that jointly file a
SAR shall each be separately responsible for maintaining a copy of the SAR and should
maintain their own SAR supporting documentation in accordance with BSA
recordkeeping requirements. See generally Section 12 (Suspicious Transaction and BSA
Reporting) for information on a broker-dealer’s obligation to file a SAR to report
suspicious transactions.


                                              7
     Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 8 of 49




TEXT EXAMPLE: We will file joint SARs in the following circumstances, according to
[describe procedures]. We will also share information about a particular suspicious
transaction with any broker-dealer, as appropriate, involved in that particular transaction
for purposes of determining whether we will file jointly a SAR-SF.

[If an introducing firm:] We will share information about particular suspicious
transactions with our clearing broker for purposes of determining whether we and our
clearing broker will file jointly a SAR-SF. In cases in which we file a joint SAR-SF for a
transaction that has been handled both by us and by the clearing broker, we may share
with the clearing broker a copy of the filed SAR-SF.

If we determine it is appropriate to jointly file a SAR-SF, we understand that we cannot
disclose that we have filed a SAR-SF to any financial institution except the financial
institution that is filing jointly. If we determine it is not appropriate to file jointly (e.g.,
because the SAR-SF concerns the other broker-dealer or one of its employees), we
understand that we cannot disclose that we have filed a SAR-SF to any other financial
institution or insurance company.

Rules: 31 C.F.R. §103.19; 31 C.F.R. § 103.38; 31 C.F.R. § 103.110.


        f.      Sharing SAR-SFs With Parent Companies

On January 20, 2006, FinCEN issued guidance permitting under certain conditions the
sharing of SAR-SFs with either foreign or domestic parent entities.

TEXT EXAMPLE: Because we are a subsidiary, we may share SAR-SFs with [Name of
parent entity (or parent entities)]. Before we share SAR-SFs with [Name(s)], we will
have in place written confidentiality agreements or written arrangements that [Name(s)]
protect the confidentiality of the SAR-SFs through appropriate internal controls.

[If parent company is a non-U.S. entity:] The confidentiality agreement will state that
the recipient foreign parent entity (or entities) may not disclose further any SAR-SF, or
the fact that such report has been filed. The agreement will allow for the foreign parent
entity (or entities) to disclose without permission underlying information (that is,
information about the customers and transaction(s) reported) that forms the basis for the
SAR-SF and that does not explicitly reveal that a SAR-SF was filed and that is not
otherwise subject to disclosure restrictions.

Resources: FinCEN Guidance on Sharing of Suspicious Activity Reports by Securities
Broker-Dealers, Futures Commission Merchants, and Introducing Brokers in
Commodities (1/20/06).


4.      Checking the Office of Foreign Assets Control Listings

                                                8
   Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 9 of 49




Although not part of the BSA and its implementing regulations, the Office of Foreign
Assets Control ( OFAC) compliance is often performed in conjunction with AML
compliance. OFAC is an office of the U.S. Treasury that administers and enforces
economic sanctions and embargoes based on U.S. foreign policy and national security
goals that target geographic regions and governments (e.g., Cuba, Sudan and Syria), as
well as individuals or entities that could be anywhere (e.g., international narcotics
traffickers, foreign terrorists and proliferators of weapons of mass destruction). As part
of its enforcement efforts, OFAC publishes a list of Specially Designated Nationals and
Blocked Persons (SDN list), which includes names of companies and individuals who are
connected with the sanctions targets. U.S. persons are prohibited from dealing with
SDNs wherever they are located, and all SDN assets must be blocked. Because OFAC's
programs are constantly changing, describe how you will check with OFAC to ensure
that your SDN list is current and also that you have complete information regarding the
listings of economic sanctions and embargoes enforced by OFAC affecting countries and
parties before opening an account and for existing accounts.

TEXT EXAMPLE: Before opening an account, and on an ongoing basis, [Name] will
check to ensure that a customer does not appear on the SDN list or is not engaging in
transactions that are prohibited by the economic sanctions and embargoes administered
and enforced by OFAC. (See the OFAC Web site for the SDN list and listings of current
sanctions and embargoes). Because the SDN list and listings of economic sanctions and
embargoes are updated frequently, we will consult them on a regular basis and subscribe
to receive any available updates when they occur. With respect to the SDN list, we may
also access that list through various software programs to ensure speed and accuracy. See
also FINRA’s OFAC Search Tool that screens names against the SDN list. [Name] will
also review existing accounts against the SDN list and listings of current sanctions and
embargoes when they are updated and [he or she] will document the review.

If we determine that a customer is on the SDN list or is engaging in transactions that are
prohibited by the economic sanctions and embargoes administered and enforced by
OFAC, we will reject the transaction and/or block the customer's assets and file a blocked
assets and/or rejected transaction form with OFAC within 10 days. We will also call the
OFAC Hotline at (800) 540-6322 immediately.

Our review will include customer accounts, transactions involving customers (including
activity that passes through the firm such as wires) and the review of customer
transactions that involve physical security certificates or application-based investments
(e.g., mutual funds).

Resources: SEC AML Source Tool, Item 12; OFAC Lists Web page (including links to the
SDN List and lists of sanctioned countries); FINRA’s OFAC Search Tool. You can also
subscribe to receive updates on the OFAC Subscription Web page. See also the following
OFAC forms: Blocked Properties Reporting Form; Voluntary Form for Reporting
Blocked Transactions; Voluntary Form for Reporting Rejected Transactions; OFAC
Guidance Regarding Foreign Assets Control Regulations for the Securities Industry.




                                            9
     Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 10 of 49




5.      Customer Identification Program
Firms are required to have and follow reasonable procedures to document and verify the
identity of their customers who open new accounts. These procedures must address the
types of information the firm will collect from the customer and how it will verify the
customer's identity. These procedures must enable the firm to form a reasonable belief
that it knows the true identity of its customers. The final rule, which FinCEN and the SEC
jointly issued on April 30, 2003, applies to all new accounts opened on or after October
1, 2003.

The firm’s customer identification program (CIP) must be in writing and be part of the
firm’s AML compliance program.

Note that the CIP rule applies only to “customers” who open new “accounts” with a
broker-dealer. Specifically, the CIP rule defines a “customer” as (1) a person that opens
a new account or (2) an individual who opens a new account for an individual who lacks
legal capacity or for an entity that is not a legal person. “Customer” does not refer to
persons who fill out account opening paperwork or who provide information necessary to
establish an account, if such persons are not the accountholder as well.

Also, for purposes of the CIP rule’s definition of customer, the following entities are
excluded from the definition of “customer”:
    • a financial institution regulated by a federal functional regulator (that is, an
        institution regulated by the Board of Governors of the Federal Reserve;
    • Federal Deposit Insurance Corporation;
    • National Credit Union Administration;
    • Office of the Comptroller of the Currency;
    • Office of Thrift Supervision; Securities and Exchange Commission; or
    • Commodity Futures Trading Commission) or a bank regulated by a state bank
        regulator;
    • a department or agency of the United States, of any State, or of any political
        subdivision of any State;
    • any entity established under the laws of the United States, of any State, or of any
        political subdivision of a State that exercises governmental authority on behalf of
        the United States, any State, or any political subdivision of a State;
    • any entity, other than a bank, whose common stock or analogous equity interests
        are listed on the New York Stock Exchange or the American Stock Exchange or
        have been designated as a NASDAQ National Market Security (now designated as
        either a NASDAQ Global Market Security or a NASDAQ Global Select Market
        Security) listed on the NASDAQ Stock Market, with the exception of stock or
        interests listed under the separate “NASDAQ Small-Cap Issues” (now known as
        NASDAQ Capital Markets) heading (but only to the extent of domestic operations
        for any such persons that are financial institutions, other than banks); or
    • a person that has an existing account with the broker-dealer, provided the broker-
        dealer has a reasonable belief that it knows the true identity of the person.


                                            10
    Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 11 of 49




Accordingly, a broker-dealer is not required to verify the identities of persons with
existing accounts at the firm, as long as the broker-dealer has a reasonable belief that it
knows the true identity of the customer.

For purposes of the CIP rule, an “account” is defined as a formal relationship with a
broker-dealer established to effect transactions in securities, including, but not limited to,
the purchase or sale of securities, securities loan and borrowing activity, and the holding
of securities or other assets for safekeeping or as collateral. The following are excluded
from the definition of “account”: (1) an account that the broker-dealer acquires through
any acquisition, merger, purchase of assets or assumption of liabilities and (2) an
account opened for the purpose of participating in an employee benefit plan established
under the Employee Retirement Income Security Act of 1974 (ERISA).

Rule: 31 C.F.R. §103.122(a)(1)(i)(ii) and 103.122(a)(4)(i)(ii).
Resources: SEC Staff Q&A Regarding the Broker-Dealer Customer Identification
Program Rule (October 1, 2003); NTM 03-34; FIN-2006-G007: Frequently Asked
Question: Customer Identification Program Responsibilities under the Agency Lending
Disclosure Initiative (April 25, 2006).

Describe how you will identify customers and verify their identities.

Note that a clearing firm does not have an obligation to perform CIP for an introduced
customer if the clearing firm and the introducing firm have entered into a clearing
agreement under which the functions of opening and approving customer accounts and
directly receiving and accepting orders from the introduced customer are allocated
exclusively to the introducing firm and the functions of extending credit, safeguarding
funds and securities, and issuing confirmations and statements are allocated to the
clearing firm. This position also extends to piggybacking arrangements 1 where, pursuant
to a piggybacking arrangement with an introducing firm, the piggybacking firm retains
the functions of opening and approving customer accounts and directly receiving and
accepting orders from introduced customers. Thus, under a piggybacking arrangement,
the clearing firm and the introducing firm are not obligated to perform CIP for the
customers introduced by the piggybacking firm.

Please note that a clearing firm’s and introducing firm’s AML programs should contain
risk-based policies, procedures, and controls for assessing the money laundering risk
posed by its fully disclosed clearing arrangements, for monitoring and mitigating that
risk, and for detecting and reporting suspicious activity.

Resources: FIN-2008-G002: Customer Identification Program Rule No-Action Position
Respecting Broker-Dealers Operating Under Fully Disclosed Clearing Agreements

1
 In a “piggybacking” arrangement, an introducing firm (the piggybacking firm) does not enter into a
clearing agreement with a clearing firm, but rather establishes a relationship with an introducing firm that
has established a clearing arrangement with a clearing firm, thus piggybacking off the introducing firm’s
clearing agreement. FIN-2008-G002 at p.2.


                                                     11
  Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 12 of 49




According to Certain Functional Allocations (March 4, 2008) and FIN-2008-R008 (Bank
Secrecy Act Obligations of a U.S. Clearing Broker-Dealer Establishing a Fully Disclosed
Clearing Relationship with a Foreign Financial Institution) (June 3, 2008).

TEXT EXAMPLE:

EITHER:

In addition to the information we must collect under FINRA Rule 2010 (Standards of
Commercial Honor and Principles of Trade), NASD Rules 2310 (Recommendations to
Customers - Suitability) and 3110 (Books and Records) and Securities Exchange Act of
1934 (Exchange Act) Rules 17a-3(a)(9) (Beneficial Ownership regarding Cash and
Margin Accounts) and 17a-3(a)(17) (Customer Accounts), we have established,
documented and maintained a written Customer Identification Program (CIP). We will
collect certain minimum customer identification information from each customer who
opens an account; utilize risk-based measures to verify the identity of each customer who
opens an account; record customer identification information and the verification
methods and results; provide the required adequate CIP notice to customers that we will
seek identification information to verify their identities; and compare customer
identification information with government-provided lists of suspected terrorists, once
such lists have been issued by the government. See Section 5.g. (Notice to Customers) for
additional information.

OR:

We do not open or maintain “customer accounts” within the meaning of 31 CFR
103.122(a)(1)(i), in that we do not establish formal relationships with “customers” for the
purpose of effecting transactions in securities. If in the future the firm elects to open
customer accounts or to establish formal relationships with customers for the purpose of
effecting transactions in securities, we will first establish, document and ensure the
implementation of appropriate CIP procedures. (Note that a change in the firm’s business
to accept customer accounts may be a material change in business requiring an
application, review and approval by FINRA. See NASD Rule 1017).

NOTE: If your firm deals only with entities that are exempt from the definition of
“customer,” describe how your firm will confirm and document that the entities are
exempt.

TEXT EXAMPLE: We will collect information to determine whether any entity opening
an account would be excluded as a “customer,” pursuant to the exceptions outlined in 31
CFR 103.122(a)(4)(ii) (e.g., documentation of a company’s listing information, licensing
or registration of a financial institution in the U.S, and status or verification of the
authenticity of a government agency or department).

Rule: 31 C.F.R. §103.122.




                                            12
  Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 13 of 49




Resources: SEC Staff Q&A Regarding the Broker-Dealer Customer Identification
Program Rule (October 1, 2003); NTM 03-34.

       a.      Required Customer Information

Prior to opening an account, [Name of person or category of associated person] will
collect the following information for all accounts, if applicable, for any person, entity or
organization that is opening a new account and whose name is on the account:
    (1) the name;
    (2) date of birth (for an individual);
    (3) an address, which will be a residential or business street address (for an
        individual), an Army Post Office (APO) or Fleet Post Office (FPO) box number,
        or residential or business street address of next of kin or another contact
        individual (for an individual who does not have a residential or business street
        address), or a principal place of business, local office, or other physical location
        (for a person other than an individual); and
    (4) an identification number, which will be a taxpayer identification number (for U.S.
        persons), or one or more of the following: a taxpayer identification number,
        passport number and country of issuance, alien identification card number, or
        number and country of issuance of any other government-issued document
        evidencing nationality or residence and bearing a photograph or other similar
        safeguard (for non-U.S. persons).

In the event that a customer has applied for, but has not received, a taxpayer
identification number, we will [add procedures describing who, what, when and how] to
confirm that the application was filed before the customer opens the account and to
obtain the taxpayer identification number within a reasonable period of time after the
account is opened.

When opening an account for a foreign business or enterprise that does not have an
identification number, we will request alternative government-issued documentation
certifying the existence of the business or enterprise.

Rule: 31 C.F.R. §103.122(b)(2)(i)(A) & § 103.122(b)(2)(i)(B).

       b.      Customers Who Refuse to Provide Information

Describe your firm’s policy for customers who do not provide requested information.

TEXT EXAMPLE: If a potential or existing customer either refuses to provide the
information described above when requested, or appears to have intentionally provided
misleading information, our firm will not open a new account and, after considering the
risks involved, consider closing any existing account. In either case, our AML
Compliance Person will be notified so that we can determine whether we should report
the situation to FinCEN on a SAR-SF.

       c.      Verifying Information


                                             13
  Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 14 of 49




Describe how you will verify customers’ identities using the information described above.
The information you gather may vary according to the risks posed by the type of account.
The procedures must enable you to form a reasonable belief that you know the true
identity of each customer. Among the risks to consider are the various types of accounts
maintained by the firm, the various methods the firm uses to open accounts, the various
types of identifying information available, and the firm’s size, location and customer
base. If you believe that some of these risk factors increase the likelihood that you will
need more information to know the true identity of your customers, you should determine
what additional identifying information might be necessary for a reasonable belief that
you know the true identity of your customer and when such additional information should
be obtained.

TEXT EXAMPLE: Based on the risk, and to the extent reasonable and practicable, we
will ensure that we have a reasonable belief that we know the true identity of our
customers by using risk-based procedures to verify and document the accuracy of the
information we get about our customers. [Name] will analyze the information we obtain
to determine whether the information is sufficient to form a reasonable belief that we
know the true identity of the customer (e.g., whether the information is logical or
contains inconsistencies).

We will verify customer identity through documentary means, non-documentary means
or both. [Tailor the sentence to your actual situation.] We will use documents to verify
customer identity when appropriate documents are available. In light of the increased
instances of identity fraud, we will supplement the use of documentary evidence by using
the non-documentary means described below whenever necessary. We may also use non-
documentary means, if we are still uncertain about whether we know the true identity of
the customer. In verifying the information, we will consider whether the identifying
information that we receive, such as the customer’s name, street address, zip code,
telephone number (if provided), date of birth and Social Security number, allow us to
determine that we have a reasonable belief that we know the true identity of the customer
(e.g., whether the information is logical or contains inconsistencies).

Appropriate documents for verifying the identity of customers include the following:

   •   For an individual, an unexpired government-issued identification evidencing
       nationality or residence and bearing a photograph or similar safeguard, such as a
       driver’s license or passport; and

   •   For a person other than an individual, documents showing the existence of the
       entity, such as certified articles of incorporation, a government-issued business
       license, a partnership agreement or a trust instrument.

We understand that we are not required to take steps to determine whether the document
that the customer has provided to us for identity verification has been validly issued and
that we may rely on a government-issued identification as verification of a customer’s
identity. If, however, we note that the document shows some obvious form of fraud, we


                                            14
  Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 15 of 49




must consider that factor in determining whether we can form a reasonable belief that we
know the customer’s true identity.

We will use the following non-documentary methods of verifying identity:

   •   Independently verifying the customer’s identity through the comparison of
       information provided by the customer with information obtained from a consumer
       reporting agency, public database or other source [identify reporting agency,
       database, etc.];

   •   Checking references with other financial institutions; or

   •   Obtaining a financial statement.

   •   [add other non-documentary methods, if applicable]

We will use non-documentary methods of verification when:
  (1) the customer is unable to present an unexpired government-issued identification
      document with a photograph or other similar safeguard;
  (2) the firm is unfamiliar with the documents the customer presents for identification
      verification;
  (3) the customer and firm do not have face-to-face contact; and
  (4) there are other circumstances that increase the risk that the firm will be unable to
      verify the true identity of the customer through documentary means.

We will verify the information within a reasonable time before or after the account is
opened. Depending on the nature of the account and requested transactions, we may
refuse to complete a transaction before we have verified the information, or in some
instances when we need more time, we may, pending verification, restrict the types of
transactions or dollar amount of transactions. If we find suspicious information that
indicates possible money laundering, terrorist financing activity, or other suspicious
activity, we will, after internal consultation with the firm's AML Compliance Person, file
a SAR-SF in accordance with applicable laws and regulations.

We recognize that the risk that we may not know the customer’s true identity may be
heightened for certain types of accounts, such as an account opened in the name of a
corporation, partnership or trust that is created or conducts substantial business in a
jurisdiction that has been designated by the U.S. as a primary money laundering
jurisdiction, a terrorist concern, or has been designated as a non-cooperative country or
territory. We will identify customers that pose a heightened risk of not being properly
identified. We will also take the following additional measures that may be used to obtain
information about the identity of the individuals associated with the customer when
standard documentary methods prove to be insufficient: [Add additional procedures for
verifying identity of certain customers, such as obtaining information about beneficial
ownership, individuals with authority or control over such account. Remember to



                                            15
  Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 16 of 49




describe who will take the action, when and how they will obtain the information and
what courses of action may be required.]

Rule: 31 C.F.R. §103.122(b).

       d.      Lack of Verification

Describe your procedures for responding to circumstances in which the firm cannot form
a reasonable belief that it knows the true identity of a customer.

TEXT EXAMPLE: When we cannot form a reasonable belief that we know the true
identity of a customer, we will do the following: (1) not open an account; (2) impose
terms under which a customer may conduct transactions while we attempt to verify the
customer’s identity; (3) close an account after attempts to verify customer’s identity fail;
and (4) determine whether it is necessary to file a SAR-SF in accordance with applicable
laws and regulations.

Rule: 31 C.F.R. §103.122(b)(2)(iii).

       e.      Recordkeeping

Describe your recordkeeping procedures.

TEXT EXAMPLE: We will document our verification, including all identifying
information provided by a customer, the methods used and results of verification, and the
resolution of any discrepancies identified in the verification process. We will keep
records containing a description of any document that we relied on to verify a customer’s
identity, noting the type of document, any identification number contained in the
document, the place of issuance, and if any, the date of issuance and expiration date.
With respect to non-documentary verification, we will retain documents that describe the
methods and the results of any measures we took to verify the identity of a customer. We
will also keep records containing a description of the resolution of each substantive
discrepancy discovered when verifying the identifying information obtained. We will
retain records of all identification information for five years after the account has been
closed; we will retain records made about verification of the customer's identity for five
years after the record is made.

Rule: 31 C.F.R. §103.122(b)(3).

       f.      Comparison with Government-Provided Lists of Terrorists

Describe how you will check government lists within a reasonable period of time after
opening an account (or earlier, if required by another federal law or regulation or
federal directive issued in connection with an applicable list). See NTM 02-21, page 6.
There currently are no government-provided lists of suspected terrorists that firms are
required to use as part of their CIP.



                                             16
  Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 17 of 49




TEXT EXAMPLE: At such time as we receive notice that a federal government agency
has issued a list of known or suspected terrorists and identified the list as a list for CIP
purposes, we will, within a reasonable period of time after an account is opened (or
earlier, if required by another federal law or regulation or federal directive issued in
connection with an applicable list), determine whether a customer appears on any such
list of known or suspected terrorists or terrorist organizations issued by any federal
government agency and designated as such by Treasury in consultation with the federal
functional regulators. We will follow all federal directives issued in connection with such
lists.

We will continue to comply separately with OFAC rules prohibiting transactions with
certain foreign countries or their nationals.

Rule: 31 C.F.R. §103.122(b)(4).
Resources: NTM 02-21, page 6, n.24; 31 C.F.R. § 103.122.

       g.      Notice to Customers

The CIP Rule requires you to provide adequate notice to customers that you are
requesting information from them to verify their identities. You may provide such notice
by a sign in your lobby, through other oral or written notice, or, for accounts opened
online, notice posted on your Web site. No matter which methods of giving notice you
choose, you must give it before an account is opened.

FINRA has produced a Customer Identification Program Notice to assist firms in
fulfilling this notification requirement. Please refer to FINRA’s AML Web page for
further details.

TEXT EXAMPLE: We will provide notice to customers that the firm is requesting
information from them to verify their identities, as required by federal law. We will use
the following method to provide notice to customers: [describe notice you will provide
for each method of account-opening your firm uses (i.e., telephone, online, walk-in, etc.);
the final rule provides the following sample language for notice to be provided to a firm’s
customers, if appropriate:]

               Important Information About Procedures for Opening a New
               Account
               To help the government fight the funding of terrorism and money
               laundering activities, federal law requires all financial institutions to
               obtain, verify, and record information that identifies each person who
               opens an account.

               What this means for you: When you open an account, we will ask for
               your name, address, date of birth and other information that will
               allow us to identify you. We may also ask to see your driver’s license
               or other identifying documents.



                                             17
     Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 18 of 49




Rule: 31 C.F.R. §103.122(b)(5).

         h.       Reliance on Another Financial Institution for Identity Verification

We may, under the following circumstances, rely on the performance by another financial
institution (including an affiliate) of some or all of the elements of our CIP with respect
to any customer that is opening an account or has established an account or similar
business relationship with the other financial institution to provide or engage in services,
dealings or other financial transactions:

              •   when such reliance is reasonable under the circumstances;
              •   when the other financial institution is subject to a rule implementing the
                  anti-money laundering compliance program requirements of 31 U.S.C.
                  § 5318(h), and is regulated by a federal functional regulator; and
              •   when the other financial institution has entered into a contract with our
                  firm requiring it to certify annually to us that it has implemented its anti-
                  money laundering program and that it will perform (or its agent will
                  perform) specified requirements of the customer identification program.

[You will not be held responsible for the failure of the other financial institution to fulfill
adequately your CIP responsibilities, provided that you can establish that your reliance
was reasonable and you have obtained the requisite contracts and certifications.]

Rule: 31 C.F.R. § 103.122(b)(6).
Resources: No-Action Letters to the Securities Industry and Financial Markets
Association (SIFMA) (formerly known as the Securities Industry Association (SIA))
(February 12, 2004; February 10, 2005; July 11, 2006; and January 10, 2008). (The
letters provide staff guidance regarding the extent to which a broker-dealer may rely on
an investment adviser to conduct the required elements of the CIP rule, prior to such
adviser being subject to an AML rule.)

6.       General Customer Due Diligence
Customer Due Diligence (CDD) is the foundation of a strong AML compliance program
that is broader than CIP. While CDD is not specifically required by the AML rules, it is
not possible to have an adequate AML program or suspicious activity reporting program
without conducting appropriate ongoing customer due diligence. CDD enables the firm
to evaluate the risk presented by each customer and provides the firm with a baseline for
evaluating customer transactions to determine whether the transactions are suspicious
and need to be reported. See NTM 02-21, page 7.

You may deem some accounts to be of higher risk based on:

     •   customer’s actual or anticipated business activity;
     •   customer’s ownership structure;
     •   anticipated or actual volume and types of transactions;


                                               18
     Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 19 of 49




     •   transactions involving high-risk jurisdictions.

Higher risk accounts should be subject to greater due diligence.

TEXT EXAMPLE: It is important to our AML and SAR-SF reporting program that we
obtain sufficient information about each customer to allow us to evaluate the risk
presented by that customer and to detect and report suspicious activity. When we open an
account for a customer, the due diligence we perform may be in addition to customer
information obtained for purposes of our CIP.

For each account meeting the following criteria [enter thresholds for account value or
specific account types or specific customer types where you believe that additional
customer due diligence is warranted], we will take steps to obtain sufficient customer
information to comply with our suspicious activity reporting requirements. Such
information should include [include any additional information that you deem to be
appropriate]:

     •   the customer’s business;
     •   the customer’s anticipated account activity (both volume and type);
     •   the source of the customer’s funds.

For accounts that we have deemed to be higher risk, we will obtain the following
information [choose from the following or additional information as appropriate]:

     •   the purpose of the account;
     •   the source of funds and wealth;
     •   the beneficial owners of the accounts;
     •   the customer’s (or beneficial owner’s) occupation or type of business;
     •   financial statements;
     •   banking references;
     •   domicile (where the customer’s business is organized);
     •   description of customer’s primary trade area and whether international
         transactions are expected to be routine;
     •   description of the business operations and anticipated volume of trading;
     •   explanations for any changes in account activity.

We will also ensure that the customer information remains accurate by [insert procedures
to determine that due diligence information remains accurate].


7.       Correspondent Accounts for Foreign Shell Banks

         a.     Detecting and Closing Correspondent Accounts of Foreign Shell
                Banks




                                              19
  Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 20 of 49




Broker-dealers are prohibited from establishing, maintaining, administering or
managing correspondent accounts in the United States for foreign shell banks. Broker-
dealers also must take reasonable steps to ensure that any correspondent account
established, maintained, administered or managed by the broker-dealer in the United
States for a foreign bank is not being used by that foreign bank to indirectly provide
banking services to a foreign shell bank. The BSA regulations allow covered financial
institutions to receive a safe harbor for compliance with these requirements if they use
the certification process described in the regulations. A covered financial institution must
obtain a certification from each foreign bank for which it maintains a correspondent
account “at least once every three years” to maintain the safe harbor.

In the context above, “correspondent account” is an account established for a foreign
bank to receive deposits from, or to make payments or other disbursements on behalf of,
the foreign bank, or to handle other financial transactions related to such foreign bank.

Foreign shell banks are foreign banks without a physical presence in any country. A
"foreign bank" is any bank organized under foreign law or an agency, branch or office of
a bank located outside the U.S. The term does not include an agent, agency, branch or
office within the U.S. of a bank organized under foreign law.

The prohibition does not include foreign shell banks that are regulated affiliates. Foreign
shell banks that are regulated affiliates are affiliates of a depository institution, credit
union or foreign bank that maintains a physical presence in the U.S., or a foreign
country, and are subject to supervision by a banking authority in the country regulating
that affiliated depository institution, credit union or foreign bank. Foreign branches of a
U.S. broker-dealer are not subject to this requirement, and “correspondent accounts” of
foreign banks that are clearly established, maintained, administered or managed only at
foreign branches are not subject to this regulation.

Describe how your firm will identify foreign banks with which the firm has accounts, and
then detect and close correspondent accounts for foreign shell banks.

NOTE: If your firm does not establish, maintain, administer or manage correspondent
accounts for foreign banks, state that this is your firm’s policy and describe the
internal controls that your firm will implement to detect any attempt to open a
correspondent account.

TEXT EXAMPLE: We will identify foreign bank accounts and any such account that is a
correspondent account (any account that is established for a foreign bank to receive
deposits from, or to make payments or other disbursements on behalf of, the foreign
bank, or to handle other financial transactions related to such foreign bank) for foreign
shell banks by [describe procedure to detect such accounts]. Upon finding or suspecting
such accounts, firm employees will notify the AML Compliance Person, who will
terminate any verified correspondent account in the United States for a foreign shell
bank. We will also terminate any correspondent account that we have determined is not
maintained by a foreign shell bank but is being used to provide services to such a shell



                                            20
  Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 21 of 49




bank. We will exercise caution regarding liquidating positions in such accounts and take
reasonable steps to ensure that no new positions are established in these accounts during
the termination period. We will terminate any correspondent account for which we have
not obtained the information described in Appendix A of the regulations regarding shell
banks within the time periods specified in those regulations.

Rules: 31 C.F.R. §§103.175, 103.177.

       b.      Certifications

Describe your process for obtaining certain required information from any foreign bank
account holders and for obtaining the necessary certifications at least once every three
years to rely on the safe harbor provided by the BSA regulations.

TEXT EXAMPLE: We will require our foreign bank account holders to identify the
owners of the foreign bank if it is not publicly traded, the name and street address of a
person who resides in the United States and is authorized and has agreed to act as agent
for acceptance of legal process, and an assurance that the foreign bank is not a shell bank
nor is it facilitating activity of a shell bank. In lieu of this information the foreign bank
may submit the Certification Regarding Correspondent Accounts For Foreign Banks
provided in the BSA regulations. We will re-certify when we believe that the information
is no longer accurate or at least once every three years.

Rules: 31 C.F.R. §§ 103.175, 103.177.
Resources: 31 C.F.R., Pt. 103, Subpt. I, App. A (Certification Regarding Correspondent
Accounts for Foreign Banks); FIN-2006-G003: Frequently Asked Questions: Foreign
Bank Recertifications under 31 C.F.R. § 103.77 (February 3, 2006).

       c.      Recordkeeping for Correspondent Accounts for Foreign Banks

Firms must keep records identifying the owners of foreign banks with U.S. correspondent
accounts and the name and address of the U.S. agent for service of legal process for
those banks.

TEXT EXAMPLE: We will keep records identifying the owners of foreign banks with
U.S. correspondent accounts and the name and address of the U.S. agent for service of
legal process for those banks.

Rules: 31 C.F.R. §§ 103.175, 103.177.

       d.      Summons or Subpoena of Foreign Bank Records; Termination of
               Correspondent Relationships with Foreign Bank

The Secretary of the Treasury or the Attorney General of the United States may issue a
summons or subpoena to any foreign bank that maintains a correspondent account in the
United States and may request records related to such correspondent account, including



                                             21
  Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 22 of 49




records maintained outside of the United States relating to the deposit of funds into the
foreign bank. The summons or subpoena may be served on the foreign bank in the United
States if the foreign bank has a representative in the United States, or in a foreign
country pursuant to any mutual legal assistance treaty, multilateral agreement or other
request for international law enforcement assistance.

A broker-dealer that maintains a correspondent account for a foreign bank in the United
States must maintain records in the United States identifying the owners of such foreign
bank whose shares are not publicly traded and the name and street address of a person
who resides in the United States and is authorized, and has agreed to be an agent to
accept service of legal process for the foreign bank’s correspondent account. Upon
receipt of a written request from a federal law enforcement officer for this information,
the broker-dealer must provide such information to the requesting officer no later than
seven days after receipt of the request.

Additionally, such broker-dealer must terminate any correspondent relationship with a
foreign bank not later than 10 business days after receipt of written notice from the
Secretary of the Treasury or the Attorney General of the United States that the foreign
bank has failed to: (1) comply with a summons or subpoena issued by these two entities;
or (2) initiate proceedings in a United States court contesting such summons or
subpoena.

Describe your firm’s procedures for handling requests from federal law enforcement
officers for the information described above, and if necessary, terminating a
correspondent relationship with a foreign bank that has failed to comply or contest a
summons or subpoena issued by the Secretary of the Treasury or the Attorney General of
the United States.

TEXT EXAMPLE: When we receive a written request from a federal law enforcement
officer for information identifying the non-publicly traded owners of any foreign bank for
which we maintain a correspondent account in the United States and/or the name and
address of a person residing in the United States who is an agent to accept service of legal
process for a foreign bank’s correspondent account, we will provide that information to
the requesting officer not later than seven days after receipt of the request. We will close,
within 10 days, any correspondent account for a foreign bank that we learn from FinCEN
or the Department of Justice has failed to comply with a summons or subpoena issued by
the Secretary of the Treasury or the Attorney General of the United States or has failed to
contest such a summons or subpoena. We will scrutinize any correspondent account
activity during that 10-day period to ensure that any suspicious activity is appropriately
reported and to ensure that no new positions are established in these correspondent
accounts.

Rule: 31 C.F.R. § 103.185.




                                             22
     Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 23 of 49




8.      Due Diligence and Enhanced Due Diligence Requirements for
        Correspondent Accounts of Foreign Financial Institutions
        a.     Due Diligence for Correspondent Accounts of Foreign Financial
               Institutions

The BSA, as amended by Section 312 of the USA PATRIOT Act, and the rules
promulgated thereunder require, in part, that a firm, as part of its anti-money laundering
program, establish a due diligence program that includes appropriate, specific, risk-
based and, where necessary, enhanced policies, procedures and controls that are
reasonably designed to enable the firm to detect and report, on an ongoing basis, any
known or suspected money laundering activity conducted through or involving any
correspondent account established, maintained, administered or managed by the firm for
a foreign financial institution.

A foreign financial institution is:
    (1) a foreign bank;
    (2) any branch or office located outside the United States of a broker-dealer; futures
        commission merchant or introducing broker; or open-end mutual fund company;
    (3) any other person organized under foreign law (other than a branch or office of
        such person in the United States) that, if it were located in the United States,
        would be a broker-dealer; futures commission merchant or introducing broker; or
        open-end mutual fund company; and
    (4) any person organized under foreign law (other than a branch or office of such
        person in the United States) that is engaged in the business of, and is readily
        identifiable as: (a) a currency dealer or exchanger; or (b) a money transmitter.

A person, however, is not “engaged in the business” of a currency dealer, a currency
exchanger or a money transmitter if such transactions are merely incidental to the
person’s business.

A “correspondent account” is defined in this context as any account established for a
foreign financial institution to receive deposits from, or to make payments or other
disbursement on behalf of, the foreign financial institution, or to handle other financial
transactions for the foreign financial institution. “Account” is defined as any formal
relationship established with a broker or dealer in securities to provide regular services
to effect transactions in securities, including but not limited to, the purchase or sale of
securities and securities loaned and borrowed activity, and to hold securities or other
assets for safekeeping or as collateral.

For broker-dealers, correspondent accounts established on behalf of foreign financial
institutions include, but are not limited to: (1) accounts to purchase, sell, lend, or
otherwise hold securities, including securities repurchase programs; (2) prime brokerage
accounts that clear and settle securities transactions for clients; (3) accounts for trading
foreign currency; (4) custody accounts for holding securities or other assets in




                                             23
  Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 24 of 49




connection with securities transactions as collateral; and (5) over-the-counter derivative
contracts.

On January 30, 2008, FinCEN issued guidance clarifying that covered financial
institutions (which includes U.S. broker-dealers) presenting a negotiable instrument for
payment to a foreign financial institution on which the instrument is drawn would not, by
itself, be establishing a correspondent account between the covered financial institution
and the paying institution. See FinCEN Guidance on Application of Correspondent
Account Rules to the Presentation of Negotiable Instruments Received by a Covered
Financial Institution for Payment (1/30/08).

Describe your firm’s due diligence program for any correspondent accounts established
on behalf of foreign financial institutions.

TEXT EXAMPLE: We will conduct an inquiry to determine whether a foreign financial
institution has a correspondent account established, maintained, administered or managed
by the firm.

If we have correspondent accounts for foreign financial institutions, we will assess the
money laundering risk posed, based on a consideration of relevant risk factors. We can
apply all or a subset of these risk factors depending on the nature of the foreign financial
institutions and the relative money laundering risk posed by such institutions.

The relevant risk factors can include:

           •   the nature of the foreign financial institution’s business and the markets it
               serves;

           •   the type, purpose and anticipated activity of such correspondent account;

           •   the nature and duration of the firm’s relationship with the foreign financial
               institution and its affiliates;

           •   the anti-money laundering and supervisory regime of the jurisdiction that
               issued the foreign financial institution’s charter or license and, to the
               extent reasonably available, the jurisdiction in which any company that is
               an owner of the foreign financial institution is incorporated or chartered;
               and

           •   information known or reasonably available to the covered financial
               institution about the foreign financial institution’s anti-money laundering
               record.

In addition, our due diligence program will consider additional factors that have not been
enumerated above when assessing foreign financial institutions that pose a higher risk of
money laundering.


                                             24
  Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 25 of 49




We will apply our risk-based due diligence procedures and controls to each financial
foreign institution correspondent account on an ongoing basis. This includes periodically
reviewing the activity of each foreign financial institution correspondent sufficient to
ensure whether the nature and volume of account activity is generally consistent with the
information regarding the purpose and expected account activity and to ensure that the
firm can adequately identify suspicious transactions. Ordinarily, we will not conduct this
periodic review by scrutinizing every transaction taking place within the account. One
procedure we may use instead is to use any account profiles for our correspondent
accounts (to the extent we maintain these) that we ordinarily use to anticipate how the
account might be used and the expected volume of activity to help establish baselines for
detecting unusual activity. [Describe in detail all of the firm’s procedures for periodically
reviewing foreign financial institution account activity].

OR:

We have reviewed our accounts and we do not have, nor do we intend to open or
maintain, correspondent accounts for foreign financial institutions [and describe the
internal controls that your firm will implement to detect any attempt to open one of these
types of accounts].

Rules: 31 C.F.R. §§ 103.175, 103.176.
Resources: FIN-2006-G009 Application of the Regulations Requiring Special Due
Diligence Programs for Certain Foreign Accounts to the Securities and Futures
Industries (May 10, 2006).

       b.      Enhanced Due Diligence

The BSA, as amended by Section 312 of the USA PATRIOT Act, and the rules
promulgated thereunder require, in part, that a firm’s due diligence program for
correspondent accounts of foreign financial institutions include the performance of
enhanced due diligence on correspondent accounts for any foreign bank that operates
under:
   (1) an offshore banking license;
   (2) a banking license issued by a foreign country that has been designated as non-
       cooperative with international anti-money laundering principles or procedures by
       an intergovernmental group or organization of which the United States is a
       member and with which designation the U.S. representative to the group or
       organization concurs; or
   (3) a banking license issued by a foreign country that has been designated by the
       Secretary of the Treasury as warranting special measures due to money
       laundering concerns.

TEXT EXAMPLE: We will assess any correspondent accounts for foreign financial
institutions to determine whether they are correspondent accounts that have been




                                             25
  Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 26 of 49




established, maintained, administered or managed for any foreign bank that operates
under:
    (1) an offshore banking license;
    (2) a banking license issued by a foreign country that has been designated as non-
        cooperative with international anti-money laundering principles or procedures by
        an intergovernmental group or organization of which the United States is a
        member and with which designation the U.S. representative to the group or
        organization concurs; or
    (3) a banking license issued by a foreign country that has been designated by the
        Secretary of the Treasury as warranting special measures due to money
        laundering concerns.

If we determine that we have any correspondent accounts for these specified foreign
banks, we will perform enhanced due diligence on these correspondent accounts. The
enhanced due diligence that we will perform for each correspondent account will include,
at a minimum, procedures to take reasonable steps to:

       (1)    conduct enhanced scrutiny of the correspondent account to guard against
              money laundering and to identify and report any suspicious transactions.
              Such scrutiny will not only reflect the risk assessment that is described in
              Section 8.a. above, but will also include procedures to, as appropriate:

              (i)     obtain (e.g., using a questionnaire) and consider information
                      related to the foreign bank’s AML program to assess the extent to
                      which the foreign bank’s correspondent account may expose us to
                      any risk of money laundering;

              (ii)    monitor transactions to, from or through the correspondent account
                      in a manner reasonably designed to detect money laundering and
                      suspicious activity (this monitoring may be conducted manually or
                      electronically and may be done on an individual account basis or
                      by product activity); and

              (iii)   obtain information from the foreign bank about the identity of any
                      person with authority to direct transactions through any
                      correspondent account that is a payable-through account (a
                      correspondent account maintained for a foreign bank through
                      which the foreign bank permits its customer to engage, either
                      directly or through a subaccount, in banking activities) and the
                      sources and beneficial owners of funds or other assets in the
                      payable-through account.

       (2)    determine whether the foreign bank maintains correspondent accounts for
              other foreign banks that enable those other foreign banks to gain access to
              the correspondent account under review and, if so, to take reasonable steps
              to obtain information to assess and mitigate the money laundering risks



                                           26
     Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 27 of 49




               associated with such accounts, including, as appropriate, the identity of
               those other foreign banks; and

        (3)    if the foreign bank’s shares are not publicly traded, determine the identity
               of each owner and the nature and extent of each owner’s ownership
               interest. We understand that for purposes of determining a private foreign
               bank’s ownership, an “owner” is any person who directly or indirectly
               owns, controls or has the power to vote 10 percent or more of any class of
               securities of a foreign bank. We also understand that members of the same
               family shall be considered to be one person.

Rules: 31 C.F.R. §§ 103.175, 103.176.

        c.     Special Procedures When Due Diligence or Enhanced Due Diligence
               Cannot Be Performed

A firm must include procedures to follow in circumstances where the firm cannot perform
appropriate due diligence for a correspondent account of a foreign financial institution
or the enhanced due diligence that is required for correspondent accounts for certain
foreign banks.

TEXT EXAMPLE: In the event there are circumstances in which we cannot perform
appropriate due diligence with respect to a correspondent account, we will determine, at a
minimum, whether to refuse to open the account, suspend transaction activity, file a
SAR-SF, close the correspondent account and/or take other appropriate action.

Rules: 31 C.F.R. §§ 103.175, 103.176.

9.      Due Diligence and Enhanced Due Diligence Requirements for
        Private Banking Accounts/Senior Foreign Political Figures
Describe your firm's due diligence program for “private banking” accounts for non-U.S.
persons. Firms must have a due diligence program that is reasonably designed to detect
and report any known or suspected money laundering conducted through or involving
any private banking account maintained by or on behalf of a non-U.S. person, as well as
the existence of the proceeds of foreign corruption in any such account. This requirement
applies to all private banking accounts for non-U.S. persons, regardless of when they
were opened. Accounts requested or maintained by or on behalf of “senior foreign
political figures,” which is defined below and includes their immediate family members
and close known associates, require enhanced scrutiny. Senior foreign political figures
are often referred to as “politically exposed persons” or “PEPs.”

A “private banking” account is an account (or any combination of accounts) that
requires a minimum aggregate deposit of $1,000,000, is established for one or more
individuals and is assigned to or administered or managed by, in whole or in part, an




                                            27
  Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 28 of 49




officer, employee or agent of a financial institution acting as a liaison between the
financial institution and the direct or beneficial owner of the account.

A “senior foreign political figure” includes a current or former senior official in the
executive, legislative, administrative, military or judicial branches of a foreign
government (whether elected or not), a senior official of a major foreign political party,
or a senior executive of a foreign government-owned commercial enterprise; a
corporation, business, or other entity formed by or for the benefit of any such individual;
an immediate family member of such an individual; or any individual widely and publicly
known (or actually known by the firm) to be a close personal or professional associate of
such an individual.

NOTE: If your firm does not open or maintain private banking accounts, state that this
is your firm’s policy.

TEXT EXAMPLE:

EITHER:

We will review our accounts to determine whether we offer any private banking accounts
and we will conduct due diligence on such accounts. This due diligence will include, at
least, (1) ascertaining the identity of all nominal holders and holders of any beneficial
ownership interest in the account (including information on those holders' lines of
business and sources of wealth); (2) ascertaining the source of funds deposited into the
account; (3) ascertaining whether any such holder may be a senior foreign political
figure; and (4) detecting and reporting, in accordance with applicable laws and
regulations, any known or suspected money laundering, or use of the proceeds of foreign
corruption.

We will review public information, including information available in Internet databases,
to determine whether any private banking account holders are senior foreign political
figures. If we discover information indicating that a particular private banking account
holder may be a senior foreign political figure, and upon taking additional reasonable
steps to confirm this information, we determine that the individual is, in fact, a senior
foreign political figure, we will conduct additional enhanced due diligence to detect and
report transactions that may involve money laundering or the proceeds of foreign
corruption.

In so doing, we will consider the risks that the funds in the account may be the proceeds
of foreign corruption by determining the purpose and use of the private banking account,
location of the account holder(s), source of funds in the account, type of transactions
conducted through the account and jurisdictions involved in such transactions. The
degree of scrutiny we will apply will depend on various risk factors, including, but not
limited to, whether the jurisdiction the senior foreign political figure is from is one in
which current or former political figures have been implicated in corruption and the
length of time that a former political figure was in office. Our enhanced due diligence



                                             28
  Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 29 of 49




might include, depending on the risk factors, probing the account holder's employment
history, scrutinizing the account holder's source(s) of funds, and monitoring transactions
to the extent necessary to detect and report proceeds of foreign corruption, and reviewing
monies coming from government, government controlled or government enterprise
accounts (beyond salary amounts).

If we do not find information indicating that a private banking account holder is a senior
foreign political figure, and the account holder states that he or she is not a senior foreign
political figure, then we may make an assessment if a higher risk for money laundering,
nevertheless, exists independent of the classification. If a higher risk is apparent, we will
consider additional due diligence measures such as [describe in detail the additional
measures].

In either case, if due diligence (or the required enhanced due diligence, if the account
holder is a senior foreign political figure) cannot be performed adequately, we will, after
consultation with the firm's AML Compliance Person and, as appropriate, not open the
account, suspend the transaction activity, file a SAR-SF or close the account.

OR:

We do not open or maintain private banking accounts.

Rules: 31 C.F.R. §§ 103.175, 103.178.
Resource: Guidance on Enhanced Scrutiny for Transactions that May Involve the
Proceeds of Foreign Official Corruption.


10.    Compliance with FinCEN’s Issuance of Special Measures Against
       Foreign Jurisdictions, Financial Institutions or International
       Transactions of Primary Money Laundering Concern
Describe how your firm will comply with the BSA, as amended by Section 311 of the USA
PATRIOT Act, which grants the Secretary of the Treasury the authority, after finding that
reasonable grounds exist for concluding that (1) a jurisdiction outside of the United
States; (2) one or more financial institutions operating outside of the United States; (3)
one or more classes of transactions within, or involving, a jurisdiction outside of the
United States; or (4) one or more types of accounts is of "primary money laundering
concern,” to require domestic financial institutions, such as broker-dealers, to take
certain “special measures” against the primary money laundering concern. There is a
special section on the FinCEN Web site where all the Section 311 designations are listed.
See Section 311 – Special Measures.

TEXT EXAMPLE:

EITHER:



                                              29
  Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 30 of 49




We do not maintain any accounts (including correspondent accounts) with any foreign
jurisdiction or financial institution. However, if FinCEN issues a final rule imposing a
special measure against one or more foreign jurisdictions or financial institutions, classes
of international transactions or types of accounts deeming them to be of primary money
laundering concern, we understand that we must read FinCEN’s final rule and follow any
prescriptions or prohibitions contained in that rule.

OR:

If FinCEN issues a final rule imposing a special measure against one or more foreign
jurisdictions or financial institutions, classes of international transactions or types of
accounts deeming them to be of primary money laundering concern, we understand that
we must read FinCEN’s final rule and follow any prescriptions or prohibitions contained
in that rule. For example, if the final rule deems a certain bank and its subsidiaries
(Specified Bank) to be of primary money laundering concerns, a special measure may be
a prohibition from opening or maintaining a correspondent account in the United States
for, or on behalf of, the Specified Banks. In that case, we will take the following steps:

       (1)     We will review our account records, including correspondent account
               records, to ensure that our accountholders and correspondent
               accountholders maintain no accounts directly for, or on behalf of, the
               Specified Banks; and

       (2)     We will apply due diligence procedures to our correspondent accounts that
               are reasonably designed to guard against indirect use of those accounts by
               the Specified Banks. Such due diligence may include:

               •       Notification to Correspondent Accountholders

                       We will notify our correspondent accountholders that the account
                       may not be used to provide the Specified Banks with access to us
                       [provide details of what the language of the notice will state].

                       We will transmit the notice to our correspondent accounts using
                       the following method [specify], and we shall retain documentation
                       of such notice.

               •       Identification of Indirect Use

                       We will take reasonable steps in order to identify any indirect use
                       of our correspondent accounts by the Specified Banks. We will
                       determine if such indirect use is occurring from transactional
                       records that we maintain in the normal course of business. We will
                       take a risk-based approach when deciding what, if any, additional
                       due diligence measures we should adopt to guard against the
                       indirect use of correspondent accounts by the Specified Banks,



                                            30
  Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 31 of 49




                       based on risk factors such as the type of services offered by, and
                       geographic locations of, their correspondents.

                       We understand that we have an ongoing obligation to take
                       reasonable steps to identify all correspondent account services our
                       correspondent accountholders may directly or indirectly provide to
                       the Specified Banks.


Rules: 31 C.F.R. §§ 103.186, 103.187, 103.188, 103.192, 103.193.
Resources: Section 311 – Special Measures (for information on all special measures
issued by FinCEN); NTM 07-17; NTM 06-41.


11.    Monitoring Accounts for Suspicious Activity

Broker-dealers must establish risk-based procedures reasonably designed to detect and
report suspicious transactions in order to comply with the BSA and FINRA Rule 3310.
The risk of suspicious activity will vary for each firm depending on its size and location
and based on its business model and the products and services it offers. Your firm can
identify that risk by looking at the type of customers it serves, where its customers are
located, and the types of products and services it offers. Given the wide variety of
business models employed by small firms, it is paramount that your firm’s monitoring
procedures be tailored to your firm’s business and identified risks. Additionally, your
procedures should identify “red flags” or indicators of possible suspicious activity to
identify circumstances warranting further due diligence by the firm. Higher risk accounts
and transactions generally need to be subjected to greater scrutiny.

Your procedures should also describe how the firm will monitor for or otherwise identify
these “red flags.” Your firm may monitor transactions manually or through automated
systems or a combination of the two, as long as the system is reasonably designed to
identify and report suspicious activity. Note that the types of suspicious activity that are
reportable on SAR-SF are very broad and include, among other things, securities fraud.

It is important that your procedures provide specific details regarding your firm’s
monitoring system (e.g., who, what, when, where and how).

TEXT EXAMPLE:

We will monitor account activity for unusual size, volume, pattern or type of transactions,
taking into account risk factors and red flags that are appropriate to our business. (Red
flags are identified in Section 11.b. below.) Monitoring will be conducted through the
following methods: [describe]. [If automated monitoring is utilized, your procedures
should include a list of reports as well as their purpose and description. If manual
monitoring is utilized, your procedures should include a list of documents/systems to be



                                             31
  Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 32 of 49




reviewed and the purpose of the review. Regardless of the method, your procedures
should address how this monitoring will be conducted and the frequency with which it
will be conducted.] The AML Compliance Person or his or her designee [Add if
appropriate: in consultation with {Name or title} OR with the approval of {Name or
title}] will be responsible for this monitoring, will review any activity that our monitoring
system detects, will determine whether any additional steps are required, will document
when and how this monitoring is carried out, and will report suspicious activities to the
appropriate authorities.

We will conduct the following reviews of activity that our monitoring system detects:
[describe]. We will document our monitoring and reviews as follows: [describe]. The
AML Compliance Person or his or her designee will conduct an appropriate investigation
and review relevant information from internal or third-party sources before a SAR-SF is
filed. Relevant information can include, but not be limited to, the following: [describe].

Rules: 31 C.F.R. §103.19; FINRA Rule 3310(a).
Resource: Final Rule Release: 67 Fed. Reg. 44048 (July 1, 2002) (“it is intended that
broker-dealers, and indeed every type of financial institution to which the suspicious
transaction reporting rules of 31 CFR part 103 apply, will evaluate customer activity and
relationships for money laundering risks, and design a suspicious transaction monitoring
program that is appropriate for the particular broker-dealer in light of such risks”).

        a.      Emergency Notification to Law Enforcement by Telephone

Describe when and how your firm will call the appropriate law enforcement authority in
emergencies.

TEXT EXAMPLE: In situations involving violations that require immediate attention,
such as terrorist financing or ongoing money laundering schemes, we will immediately
call an appropriate law enforcement authority. If a customer or company appears on
OFAC’s SDN list, we will call the OFAC Hotline at (800) 540-6322. Other contact
numbers we will use are: FinCEN’s Financial Institutions Hotline ((866) 556-3974)
(especially to report transactions relating to terrorist activity), local U.S. Attorney’s office
(insert contact number), local FBI office (insert contact number) and local SEC office
(insert contact number) (to voluntarily report such violations to the SEC in addition to
contacting the appropriate law enforcement authority). If we notify the appropriate law
enforcement authority of any such activity, we must still file a timely SAR-SF.

Although we are not required to, in cases where we have filed a SAR-SF that may require
immediate attention by the SEC, we may contact the SEC via the SEC SAR Alert
Message Line at (202) 551-SARS (7277) to alert the SEC about the filing. We understand
that calling the SEC SAR Alert Message Line does not alleviate our obligations to file a
SAR-SF or notify an appropriate law enforcement authority.

Rule: 31 C.F.R. § 103.19.
Resources: FinCEN’s Web site; OFAC Web page; NTM 02-21; NTM 02-47.



                                              32
  Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 33 of 49




       b.     Red Flags

TEXT EXAMPLE: Red flags that signal possible money laundering or terrorist financing
include, but are not limited to:

                Customers – Insufficient or Suspicious Information

   •   Provides unusual or suspicious identification documents that cannot be readily
       verified.

   •   Reluctant to provide complete information about nature and purpose of business,
       prior banking relationships, anticipated account activity, officers and directors or
       business location.

   •   Refuses to identify a legitimate source for funds or information is false,
       misleading or substantially incorrect.

   •   Background is questionable or differs from expectations based on business
       activities.

   •   Customer with no discernable reason for using the firm’s service.

                  Efforts to Avoid Reporting and Recordkeeping

   •   Reluctant to provide information needed to file reports or fails to proceed with
       transaction.

   •   Tries to persuade an employee not to file required reports or not to maintain
       required records.

   •   “Structures” deposits, withdrawals or purchase of monetary instruments below a
       certain amount to avoid reporting or recordkeeping requirements.

   •   Unusual concern with the firm’s compliance with government reporting
       requirements and firm’s AML policies.

                          Certain Funds Transfer Activities

   •   Wire transfers to/from financial secrecy havens or high-risk geographic location
       without an apparent business reason.

   •   Many small, incoming wire transfers or deposits made using checks and money
       orders. Almost immediately withdrawn or wired out in manner inconsistent with
       customer’s business or history. May indicate a Ponzi scheme.

   •   Wire activity that is unexplained, repetitive, unusually large or shows unusual
       patterns or with no apparent business purpose.


                                           33
Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 34 of 49




            Certain Deposits or Dispositions of Physical Certificates

•    Physical certificate is titled differently than the account.

•    Physical certificate does not bear a restrictive legend, but based on history of the
     stock and/or volume of shares trading, it should have such a legend.

•    Customer’s explanation of how he or she acquired the certificate does not make
     sense or changes.

•    Customer deposits the certificate with a request to journal the shares to multiple
     accounts, or to sell or otherwise transfer ownership of the shares.

                          Certain Securities Transactions

•    Customer engages in prearranged or other non-competitive trading, including
     wash or cross trades of illiquid securities.

•    Two or more accounts trade an illiquid stock suddenly and simultaneously.

•    Customer journals securities between unrelated accounts for no apparent
     business reason.

•    Customer has opened multiple accounts with the same beneficial owners or
     controlling parties for no apparent business reason.

•.   Customer transactions include a pattern of receiving stock in physical form or the
     incoming transfer of shares, selling the position and wiring out proceeds.

•    Customer’s trading patterns suggest that he or she may have inside information.

                Transactions Involving Penny Stock Companies

•    Company has no business, no revenues and no product.

•    Company has experienced frequent or continuous changes in its business
     structure.

•    Officers or insiders of the issuer are associated with multiple penny stock issuers.

•    Company undergoes frequent material changes in business strategy or its line of
     business.

•    Officers or insiders of the issuer have a history of securities violations.




                                          34
Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 35 of 49




•   Company has not made disclosures in SEC or other regulatory filings.

•   Company has been the subject of a prior trading suspension.

                 Transactions Involving Insurance Products

•   Cancels an insurance contract and directs funds to a third party.

•   Structures withdrawals of funds following deposits of insurance annuity checks
    signaling an effort to avoid BSA reporting requirements.

•   Rapidly withdraws funds shortly after a deposit of a large insurance check when
    the purpose of the fund withdrawal cannot be determined.

•   Cancels annuity products within the free look period which, although could be
    legitimate, may signal a method of laundering funds if accompanied with other
    suspicious indicia.

•   Opens and closes accounts with one insurance company then reopens a new
    account shortly thereafter with the same insurance company, each time with new
    ownership information.

•   Purchases an insurance product with no concern for investment objective or
    performance.

•   Purchases an insurance product with unknown or unverifiable sources of funds,
    such as cash, official checks or sequentially numbered money orders.

                      Activity Inconsistent With Business

•   Transactions patterns show a sudden change inconsistent with normal activities.

•   Unusual transfers of funds or journal entries among accounts without any
    apparent business purpose.

•   Maintains multiple accounts, or maintains accounts in the names of family
    members or corporate entities with no apparent business or other purpose.

•   Appears to be acting as an agent for an undisclosed principal, but is reluctant to
    provide information.

                     Other Suspicious Customer Activity

•   Unexplained high level of account activity with very low levels of securities
    transactions.




                                        35
  Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 36 of 49




      •    Funds deposits for purchase of a long-term investment followed shortly by a
           request to liquidate the position and transfer the proceeds out of the account.

      •    Law enforcement subpoenas.

      •    Large numbers of securities transactions across a number of jurisdictions.

      •    Buying and selling securities with no purpose or in unusual circumstances (e.g.,
           churning at customer’s request).

      •    Payment by third-party check or money transfer without an apparent connection
           to the customer.

      •    Payments to third-party without apparent connection to customer.

      •    No concern regarding the cost of transactions or fees (i.e., surrender fees, higher
           than necessary commissions, etc.).

          c.     Responding to Red Flags and Suspicious Activity

TEXT EXAMPLE: When an employee of the firm detects any red flag, or other activity
that may be suspicious, he or she will notify [include procedures for escalation of
suspicious activity]. Under the direction of the AML Compliance Person, the firm will
determine whether or not and how to further investigate the matter. This may include
gathering additional information internally or from third-party sources, contacting the
government, freezing the account and/or filing a SAR-SF.


12.       Suspicious Transactions and BSA Reporting
Describe your firm’s procedures for identifying any suspicious transactions and
determining if they need further investigation or warrant filing a SAR-SF. These
procedures should also cover the maintenance of SAR documentation and the
preservation of its confidentiality, and BSA reporting. Note that firms must exercise due
diligence in monitoring suspicious activity as the regulations require firms to file a SAR-
SF when they "know, suspect, or have reason to suspect” that transactions involve
certain suspicious activities.

Firms are exempt from reporting on a SAR-SF the following violations: (1) a robbery or
burglary that is committed or attempted and already reported to appropriate law
enforcement authorities; (2) lost, missing, counterfeit or stolen securities that the firm
has reported pursuant to Exchange Act Rule 17f-1; and (3) violations of the Federal
securities laws or self-regulatory organization (SRO) rules by the firm, its officers,
directors, employees or registered representatives, that are reported appropriately to the
SEC or SRO, except for a violation of Exchange Act Rule 17a-8, which must be reported
on a SAR-SF. However, if a firm relies on one of these exemptions, it may be required to



                                               36
  Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 37 of 49




demonstrate that it relied on one of these exemptions and must maintain records, for at
least five years, of its determination not to file a SAR-SF based on the exemption.

Rule: 31 C.F.R. §103.19.

       a.      Filing a SAR-SF

TEXT EXAMPLE: We will file SAR-SFs with FinCEN for any transactions (including
deposits and transfers) conducted or attempted by, at or through our firm involving
$5,000 or more of funds or assets (either individually or in the aggregate) where we
know, suspect or have reason to suspect:
    (1) the transaction involves funds derived from illegal activity or is intended or
        conducted in order to hide or disguise funds or assets derived from illegal activity
        as part of a plan to violate or evade federal law or regulation or to avoid any
        transaction reporting requirement under federal law or regulation;
   (2) the transaction is designed, whether through structuring or otherwise, to evade any
        requirements of the BSA regulations;
   (3) the transaction has no business or apparent lawful purpose or is not the sort in
        which the customer would normally be expected to engage, and after examining
        the background, possible purpose of the transaction and other facts, we know of
        no reasonable explanation for the transaction; or
   (4) the transaction involves the use of the firm to facilitate criminal activity.

We will also file a SAR-SF and notify the appropriate law enforcement authority in
situations involving violations that require immediate attention, such as terrorist
financing or ongoing money laundering schemes. In addition, although we are not
required to, we may contact that SEC in cases where a SAR-SF we have filed may
require immediate attention by the SEC. See Section 11 for contact numbers. We also
understand that, even if we notify a regulator of a violation, unless it is specifically
covered by one of the exceptions in the SAR rule, we must file a SAR-SF reporting the
violation.

We may file a voluntary SAR-SF for any suspicious transaction that we believe is
relevant to the possible violation of any law or regulation but that is not required to be
reported by us under the SAR rule. It is our policy that all SAR-SFs will be reported
regularly to the Board of Directors and appropriate senior management, with a clear
reminder of the need to maintain the confidentiality of the SAR-SF.

We will report suspicious transactions by completing a SAR-SF, and we will collect and
maintain supporting documentation as required by the BSA regulations. We will file a
SAR-SF no later than 30 calendar days after the date of the initial detection of the facts
that constitute a basis for filing a SAR-SF. If no suspect is identified on the date of initial
detection, we may delay filing the SAR-SF for an additional 30 calendar days pending
identification of a suspect, but in no case will the reporting be delayed more than 60
calendar days after the date of initial detection. The phrase “initial detection” does not
mean the moment a transaction is highlighted for review. The 30-day (or 60-day) period
begins when an appropriate review is conducted and a determination is made that the


                                              37
  Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 38 of 49




transaction under review is “suspicious” within the meaning of the SAR requirements. A
review must be initiated promptly upon identification of unusual activity that warrants
investigation.

We will retain copies of any SAR-SF filed and the original or business record equivalent
of any supporting documentation for five years from the date of filing the SAR-SF. We
will identify and maintain supporting documentation and make such information
available to FinCEN, any other appropriate law enforcement agencies, federal or state
securities regulators or SROs upon request.

We will not notify any person involved in the transaction that the transaction has been
reported, except as permitted by the BSA regulations. We understand that anyone who is
subpoenaed or required to disclose a SAR-SF or the information contained in the SAR-
SF will, except where disclosure is requested by FinCEN, the SEC, or another
appropriate law enforcement or regulatory agency, or an SRO registered with the SEC,
decline to produce the SAR-SF or to provide any information that would disclose that a
SAR-SF was prepared or filed. We will notify FinCEN of any such request and our
response.

Rules: 31 C.F.R. §103.19, FINRA Rule 3310(a).
Resources: FinCEN’s Web site contains additional information, including information on
the BSA E-Filing System, the SAR-SF Form (fill-in version), and the biannual SAR
Activity Reviews and SAR Bulletins, which discuss trends in suspicious reporting and
give helpful tips. SAR Activity Review, Issue 10 (May 2006) (documentation of decision
not to file a SAR; grand jury subpoenas and suspicious activity reporting, and
commencement of 30-day time period to file a SAR); FinCEN SAR Narrative Guidance
Package (11/2003), FinCEN Suggestions for Addressing Common Errors Noted in
Suspicious Activity Reporting (10/10/2007);NTM 02-21; NTM 02-47.

       b.      Currency Transaction Reports

A firm must file a currency transaction report (CTR) for each deposit, withdrawal,
exchange of currency, or other payment or transfer by, through or to the firm that
involves a transaction in currency of more than $10,000 or for multiple transactions in
currency of more than $10,000 when a financial institution knows that the transactions
are by or on behalf of the same person during any one business day, unless the
transaction is subject to certain exemptions. “Currency” is defined as “coin and paper
money of the United States or of any other country” that is “customarily used and
accepted as a medium of exchange in the country of issuance.” Currency includes U.S.
silver certificates, U.S. notes, Federal Reserve notes, and official foreign bank notes that
are customarily used and accepted as a medium of exchange in a foreign country.

TEXT EXAMPLE: [Include this language if your firm prohibits transactions involving
currency] Our firm prohibits transactions involving currency and has the following
procedures to prevent such transactions: [Describe]. If we discover such transactions
have occurred, we will file with FinCEN CTRs for currency transactions that exceed
$10,000. Also, we will treat multiple transactions involving currency as a single


                                             38
  Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 39 of 49




transaction for purposes of determining whether to file a CTR if they total more than
$10,000 and are made by or on behalf of the same person during any one business day.
We will use the CTR Form provided on FinCEN’s Web site.

Rules: 31 C.F.R.§§103.11, 103.22.
Resource: BSA E-Filing System.

       c.      Currency and Monetary Instrument Transportation Reports

A currency and monetary instrument transportation report (CMIR) must be filed
whenever more than $10,000 in currency or other monetary instruments is physically
transported, mailed or shipped into or from the United States. A CMIR also must be filed
whenever a person receives more than $10,000 in currency or other monetary
instruments that has been physically transported, mailed or shipped from outside the
United States and a CMIR has not already been filed with respect to the currency or
other monetary instruments received. A CMIR is not required to be filed by a securities
broker-dealer mailing or shipping currency or other monetary instruments through the
postal service or by common carrier. “Monetary instruments” include the following:
currency (defined above); traveler's checks in any form; all negotiable instruments
(including personal and business checks, official bank checks, cashier's checks, third-
party checks, promissory notes and money orders) that are either in bearer form,
endorsed without restriction, made out to a fictitious payee or otherwise in such form that
title passes upon delivery; incomplete negotiable instruments that are signed but omit the
payee's name; and securities or stock in bearer form or otherwise in such form that title
passes upon delivery.

TEXT EXAMPLE: [Include this language if your firm prohibits both the receipt of
currency or other monetary instruments that have been transported, mailed or shipped to
the firm from outside of the United States and the physical transportation, mailing or
shipment of currency or other monetary instruments by any means other than through the
postal service or by common carrier:] Our firm prohibits both the receipt of currency or
other monetary instruments that have been transported, mailed or shipped to us from
outside of the United States, and the physical transportation, mailing or shipment of
currency or other monetary instruments by any means other than through the postal
service or by common carrier. We will file a CMIR with the Commissioner of Customs if
we discover that we have received or caused or attempted to receive from outside of the
U.S. currency or other monetary instruments in an aggregate amount exceeding $10,000
at one time (on one calendar day or, if for the purposes of evading reporting
requirements, on one or more days). We will also file a CMIR if we discover that we
have physically transported, mailed or shipped or caused or attempted to physically
transport, mail or ship by any means other than through the postal service or by common
carrier currency or other monetary instruments of more than $10,000 at one time (on one
calendar day or, if for the purpose of evading the reporting requirements, on one or more
days). We will use the CMIR Form provided on FinCEN’s Web site.

Rules: 31 C.F.R. §§103.11, 103.23.



                                            39
      Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 40 of 49




         d.    Foreign Bank and Financial Accounts Reports

The regulations under the BSA require broker-dealers to report and keep records related
to any financial interest in, or signature authority over, a bank account, securities
account or other financial account that the firm has in a foreign country in which the
aggregate value of any accounts exceed $10,000. Foreign bank and financial accounts
reports (FBARs) must be filed with the Commissioner of the IRS on or before June 30th
of each calendar year for the previous year in which such accounts exist.

TEXT EXAMPLE: We will file a FBAR with the IRS for any financial accounts of more
than $10,000 that we hold, or for which we have signature or other authority over, in a
foreign country. We will use the FBAR Form provided on the IRS’s Web site.

Rule: 31 C.F.R. §103.24.
Resource: FBAR Form.

         e.    Monetary Instrument Purchases

No financial institution may issue or sell a bank check or draft, cashier’s check, money
order or traveler’s check for $3,000 to $10,000 inclusive in currency unless it obtains
and records certain information when issuing or selling one or more of these instruments
to any individual purchaser. A financial institution issuing or selling one or more of these
instruments to any individual purchaser in excess of $10,000 will also need to file a CTR.
See Section 12.b.

TEXT EXAMPLE:

EITHER:

We do not issue bank checks or drafts, cashier’s checks, money orders or traveler’s
checks in the amount of $3,000 or more.

OR:

When we issue or sell a bank check or draft, cashier's check, money order or traveler's
check in the amounts of $3,000 to $10,000 inclusive, we will maintain records of the
following information:

(a)      (1)   If the purchaser has a deposit account with us:

               (i)     (A)    the name of the purchaser;

                       (B)    the date of purchase;

                       (C)    the type(s) of instrument(s) purchased;




                                            40
Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 41 of 49




                (D)     the serial number(s) of each of the instrument(s) purchased;
                        and

                (E)     the amount in dollars of each of the instrument(s)
                        purchased.

         (ii)   In addition, we must verify that the individual is a deposit
                accountholder or must verify the individual's identity. Verification
                may be either through a signature card or other file or record
                provided the deposit accountholder's name and address were
                verified previously and that information was recorded on the
                signature card or other file or record; or by examination of a
                document which is normally acceptable as a means of
                identification when cashing checks for nondepositors and which
                contains the name and address of the purchaser. If the deposit
                accountholder's identity has not been verified previously, we shall
                verify the deposit accountholder's identity by examination of a
                document which is normally acceptable within the community as a
                means of identification when cashing checks for nondepositors and
                which contains the name and address of the purchaser, and shall
                record the specific identifying information (e.g., driver’s license
                number and state of issuance).

   (2)   If the purchaser does not have a deposit account with us:

         (i)    (A)     the name and address of the purchaser;

                (B)     the Social Security number of the purchaser, or if the
                        purchaser is an alien and does not have a Social Security
                        number, the alien identification number;

                (C)     the date of birth of the purchaser;

                (D)     the date of purchase;

                (E)     the type(s) of instrument(s) purchased;

                (F)     the serial number(s) of the instrument(s) purchased; and

                (G)     the amount in dollars of each of the instrument(s)
                        purchased.

         (ii)   In addition, we shall verify the purchaser's name and address by
                examination of a document which is normally acceptable within
                the community as a means of identification when cashing checks
                for nondepositors and which contains the name and address of the



                                      41
      Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 42 of 49




                        purchaser, and shall record the specific identifying information
                        (e.g., driver’s license number and state of issuance).

(b)      Contemporaneous purchases of the same or different types of instruments totaling
         $3,000 or more shall be treated as one purchase. Multiple purchases during one
         business day totaling $3,000 or more shall be treated as one purchase if an
         individual employee, director, officer or partner of the [Name of Firm] has
         knowledge that these purchases have occurred.

(c)      We shall keep records required to be kept for a period of five years, and such
         records shall be made available to the federal and state authorities or SROs upon
         request at any time.

Rule: 31 C.F.R. § 103.29. See also 31 C.F.R. 103.22(b).
Resources: 52 Fed. Reg. 52250 (October 17, 1994) (Final Rule Amendments to BSA
Regulations Relating to Identification Required to Purchase Bank Checks and Drafts,
Cashier’s Checks, Money Orders, and Traveler’s Checks).

         f.     Funds Transmittals of $3,000 or More Under the Travel Rule

TEXT EXAMPLE: When we are the transmittor’s financial institution in funds of $3,000
or more, we will retain either the original or a copy (e.g., microfilm, electronic record) of
the transmittal order. We will also record on the transmittal order the following
information: (1) the name and address of the transmittor; (2) if the payment is ordered
from an account, the account number; (3) the amount of the transmittal order; (4) the
execution date of the transmittal order; and (5) the identity of the recipient’s financial
institution. In addition, we will include on the transmittal order as many of the following
items of information as are received with the transmittal order: (1) the name and address
of the recipient; (2) the account number of the recipient; (3) any other specific identifier
of the recipient; and (4) any form relating to the transmittal of funds that is completed or
signed by the person placing the transmittal order.

We will also verify the identity of the person placing the transmittal order (if we are the
transmitting firm), provided the transmittal order is placed in person and the transmittor is
not an established customer of the firm (i.e., a customer of the firm who has not
previously maintained an account with us or for whom we have not obtained and
maintained a file with the customer's name, address, taxpayer identification number, or, if
none, alien identification number or passport number and country of issuance). If a
transmittor or recipient is conducting business in person, we will obtain: (1) the person’s
name and address; (2) the type of identification reviewed and the number of the
identification document (e.g., driver’s license); and (3) the person’s taxpayer
identification number (e.g., Social Security or employer identification number) or, if
none, alien identification number or passport number and country of issuance, or a
notation in the record the lack thereof. If a transmittor or recipient is not conducting
business in person, we shall obtain the person’s name, address, and a copy or record of
the method of payment (e.g., check or credit card transaction). In the case of transmittors
only, we shall also obtain the transmittor’s taxpayer identification number (e.g., Social


                                             42
  Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 43 of 49




Security or employer identification number) or, if none, alien identification number or
passport number and country of issuance, or a notation in the record of the lack thereof.
In the case of recipients only, we shall obtain the name and address of the person to
which the transmittal was sent.

Rule: 31 C.F.R. §103.33(f) and (g).


13.    AML Recordkeeping
       a.      Responsibility for Required AML Records and SAR-SF Filing

Your firm must establish procedures to maintain all applicable AML program records
and reviews.

TEXT EXAMPLE: Our AML Compliance Person and his or her designee will be
responsible for ensuring that AML records are maintained properly and that SAR-SFs are
filed as required.

In addition, as part of our AML program, our firm will create and maintain SAR-SFs,
CTRs, CMIRs, FBARs, and relevant documentation on customer identity and verification
(See Section 5 above) and funds transmittals. We will maintain SAR-SFs and their
accompanying documentation for at least five years. We will keep other documents
according to existing BSA and other recordkeeping requirements, including certain SEC
rules that require six-year retention periods (e.g., Exchange Act Rule 17a-4(a) requiring
firms to preserve for a period of not less than six years, all records required to be retained
by Exchange Act Rule 17a-3(a)(1)-(3), (a)(5), and (a)(21)-(22) and Exchange Act Rule
17a-4(e)(5) requiring firms to retain for six years account record information required
pursuant to Exchange Act Rule 17a-3(a)(17)).

Rules: 31 C.F.R. § 103.38, Exchange Act Rule 17a-8 (requiring registered broker-dealers
subject to the Currency and Foreign Transactions Reporting Act of 1970 to comply with
the BSA regulations regarding reporting, recordkeeping and record retention
requirements), FINRA Rule 3310.

       b.      SAR-SF Maintenance and Confidentiality

Describe your firm’s retention and confidentiality requirements for SAR-SFs.

TEXT EXAMPLE: We will hold SAR-SFs and any supporting documentation
confidential. We will not inform anyone outside of FinCEN, the SEC, an SRO registered
with the SEC or other appropriate law enforcement or regulatory agency about a SAR-
SF. We will refuse any subpoena requests for SAR-SFs or for information that would
disclose that a SAR-SF has been prepared or filed and immediately notify FinCEN of any
such subpoena requests that we receive. See Section 11 for contact numbers. We will
segregate SAR-SF filings and copies of supporting documentation from other firm books
and records to avoid disclosing SAR-SF filings. Our AML Compliance Person will


                                             43
    Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 44 of 49




handle all subpoenas or other requests for SAR-SFs. [Describe any other retention or
confidentiality procedures of your firm for SAR-SFs.] We may share information with
another financial institution about suspicious transactions in order to determine whether
we will jointly file a SAR according to the provisions of Section 3.d. In cases in which
we file a joint SAR for a transaction that has been handled both by us and another
financial institution, both financial institutions will maintain a copy of the filed SAR.

Rules: 31 C.F.R. §103.19(e); 67 Fed. Reg. 44048, 44054 (July 1, 2002).
Resources: NTM 02-47.

       c.      Additional Records

A firm is required by the BSA to retain either an original or a microfilm copy or some
other form of copy of certain records. 31 C.F.R. §§ 103.33 and 103.35(b).

TEXT: We shall retain either the original or a microfilm or other copy or reproduction of
each of the following:

•   A record of each extension of credit in an amount in excess of $10,000, except an
    extension of credit secured by an interest in real property. The record shall contain the
    name and address of the person to whom the extension of credit is made, the amount
    thereof, the nature or purpose thereof and the date thereof;

•   A record of each advice, request or instruction received or given regarding any
    transaction resulting (or intended to result and later canceled if such a record is
    normally made) in the transfer of currency or other monetary instruments, funds,
    checks, investment securities or credit, of more than $10,000 to or from any person,
    account or place outside the U.S.;

•   A record of each advice, request or instruction given to another financial institution
    (which includes broker-dealers) or other person located within or without the U.S.,
    regarding a transaction intended to result in the transfer of funds, or of currency, other
    monetary instruments, checks, investment securities or credit, of more than $10,000
    to a person, account or place outside the U.S.;

•   Each document granting signature or trading authority over each customer's account;

•   Each record described in Exchange Act Rule 17a-3(a): (1) (blotters), (2) (ledgers for
    assets and liabilities, income, and expense and capital accounts), (3) (ledgers for cash
    and margin accounts), (4) (securities log), (5) (ledgers for securities in transfer,
    dividends and interest received, and securities borrowed and loaned), (6) (order
    tickets), (7) (purchase and sale tickets), (8) (confirms), and (9) (identity of owners of
    cash and margin accounts);




                                             44
    Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 45 of 49




•     A record of each remittance or transfer of funds, or of currency, checks, other
      monetary instruments, investment securities or credit, of more than $10,000 to a
      person, account or place, outside the U.S.; and

•     A record of each receipt of currency, other monetary instruments, checks or
      investment securities and of each transfer of funds or credit, of more than $10,000
      received on any one occasion directly and not through a domestic financial
      institution, from any person, account or place outside the U.S.

Rules: 31 C.F.R. §§ 103.33, 103.35(b).


14.      Clearing/Introducing Firm Relationships
Describe how you and your clearing firm will comply with your independent AML
obligations, which include describing the exception reports, if any, you obtain from your
clearing firm, how frequently the reports will be reviewed and by whom, what review or
inquiry will be conducted regarding exceptions, and how that review will be evidenced.

TEXT EXAMPLE: We will work closely with our clearing firm to detect money
laundering. We will exchange information, records, data and exception reports as
necessary to comply [with our contractual obligations and] with AML laws. Both our
firm and our clearing firm have filed (and kept updated) the necessary annual
certifications for such information sharing, which can be found on FinCEN’s Web site.
As a general matter, we will obtain and use the following exception reports offered by
our clearing firm in order to monitor customer activity [identify reports and the manner
in which they will be used] and we will provide our clearing firm with proper customer
identification and due diligence information as required to successfully monitor customer
transactions. We have discussed how each firm will apportion customer and transaction
functions and how we will share information and set forth our understanding in a written
document. We understand that the apportionment of functions will not relieve either of us
from our independent obligation to comply with AML laws, except as specifically
allowed under the BSA and its implementing regulations.

Rules: 31 CFR 103.110; FINRA Rule 3310, NASD Rule 3230.
Resources: FIN-2006-G003: Frequently Asked Questions: Foreign Bank Recertifications
under 31 C.F.R. § 103.77 (February 3, 2006).


15.      Training Programs
Describe your AML ongoing employee training and programs.

TEXT EXAMPLE: We will develop ongoing employee training under the leadership of
the AML Compliance Person and senior management. Our training will occur on at least




                                              45
  Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 46 of 49




an annual basis. It will be based on our firm’s size, its customer base, and its resources
and be updated as necessary to reflect any new developments in the law.

Our training will include, at a minimum: (1) how to identify red flags and signs of money
laundering that arise during the course of the employees’ duties; (2) what to do once the
risk is identified (including how, when and to whom to escalate unusual customer activity
or other red flags for analysis and, where appropriate, the filing of SAR-SFs); (3) what
employees' roles are in the firm's compliance efforts and how to perform them; (4) the
firm's record retention policy; and (5) the disciplinary consequences (including civil and
criminal penalties) for non-compliance with the BSA.

We will develop training in our firm, or contract for it. Delivery of the training may
include educational pamphlets, videos, intranet systems, in-person lectures and
explanatory memos. Currently our training program is: [insert specifics, such as “all
registered representatives must view the video entitled “Spotting Money Laundering” by
X date or within two weeks of being hired, etc.] We will maintain records to show the
persons trained, the dates of training and the subject matter of their training.

We will review our operations to see if certain employees, such as those in compliance,
margin and corporate security, require specialized additional training. Our written
procedures will be updated to reflect any such changes.

Rule: FINRA Rule 3310.
Resources: See NTM 02-21, FinCEN SAR Narrative Guidance Package (11/2003),
FinCEN Suggestions for Addressing Common Errors Noted in Suspicious Activity
Reporting (10/10/2007).


16.     Program to Independently Test AML Program
Describe your firm’s independent testing function to assess its AML compliance program.
You must choose whether your firm’s personnel or a qualified outside party will perform
this function. Your decision will depend on your firm’s size and resources. Independent
testing is generally to be performed annually (on a calendar year basis). A firm that does
not execute transactions for customers or otherwise hold customer accounts and does not
act as an introducing broker with respect to customer accounts (e.g., engages solely in
proprietary trading or conducts business only with other broker-dealers) may generally
perform an independent test every two calendar years. All firms should undertake more
frequent testing than required if circumstances warrant.

As a general matter, independent testing of your firm’s AML compliance program should
include, at a minimum: (1) evaluating the overall integrity and effectiveness of your
firm’s AML compliance program; (2) evaluating your firm’s procedures for BSA
reporting and recordkeeping requirements; (3) evaluating the implementation and
maintenance of your firm’s CIP; (4) evaluating your firm’s customer due diligence
requirements; (5) evaluating your firm’s transactions, with an emphasis on high-risk



                                             46
  Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 47 of 49




areas; (6) evaluating the adequacy of your firm’s staff training program; (7) evaluating
your firm’s systems, whether automated or manual, for identifying suspicious activity; (8)
evaluating your firm’s system for reporting suspicious activity; (9) evaluating your firm’s
policy for reviewing accounts that generate multiple SAR-SF filings; and (10) evaluating
your firm’s response to previously identified deficiencies.

       a.      Staffing

TEXT EXAMPLE:

EITHER

The testing of our AML program will be performed at least annually (on a calendar year
basis) [or if a firm is eligible, the firm may state “every two calendar years”] by [Name],
an independent third party. We will evaluate the qualifications of the independent third
party to ensure they have a working knowledge of applicable requirements under the
BSA and its implementing regulations. [Name] also has [describe background in more
detail]. Independent testing will be performed more frequently if circumstances warrant.

OR

The testing of our AML program will be performed at least annually (on a calendar year
basis) [or, if the firm is eligible, every two calendar years] by [Names], personnel of our
firm, none of whom are [who is not] the AML Compliance Person nor do they [he/she]
perform the AML functions being tested nor do they report to any such persons. Their
[his/her] qualifications include a working knowledge of applicable requirements under
the BSA and its implementing regulations [and—describe any additional qualifications].
To ensure that they [he/she] remain independent, we will separate their [his/her]
functions from other AML activities by [describe]. Independent testing will be performed
more frequently if circumstances warrant.

Rules: 31 C.F.R. § 103.120; FINRA Rule 3310.
Resource: NTM 06-07.

       b.      Evaluation and Reporting

TEXT EXAMPLE: After we have completed the independent testing, staff will report its
findings to senior management [or to an internal audit committee]. We will promptly
address each of the resulting recommendations and keep a record of how each noted
deficiency was resolved.

Rules: 31 C.F.R. § 103.120; FINRA Rule 3310.


17.    Monitoring Employee Conduct and Accounts



                                            47
  Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 48 of 49




Describe how your firm will monitor employee accounts for potential signs of money
laundering. Your firm must subject employee accounts to the same account identifying
and monitoring procedures as customer accounts. Your firm should also review
supervisors’ performance of their AML responsibilities.

TEXT EXAMPLE: We will subject employee accounts to the same AML procedures as
customer accounts, under the supervision of the AML Compliance Person. We will also
review the AML performance of supervisors, as part of their annual performance review.
The AML Compliance Person’s accounts will be reviewed by [Name – another member
of senior management.]

Rules: 31 C.F.R. §§ 103.19, 103.120; FINRA Rule 3310.


18.    Confidential Reporting of AML Non-Compliance
Describe how you ensure that employees who report suspected violations of AML
compliance are protected from retaliation.

TEXT EXAMPLE: Employees will promptly report any potential violations of the firm’s
AML compliance program to the AML Compliance Person, unless the violations
implicate the AML Compliance Person, in which case the employee shall report to [the
president/chairman of the board/audit committee chair]. Such reports will be
confidential, and the employee will suffer no retaliation for making them.

Rules: 31 C.F.R. § 103.120; FINRA Rule 3310.


19.    Additional Risk Areas
TEXT EXAMPLE: The firm has reviewed all areas of its business to identify potential
money laundering risks that may not be covered in the procedures described above. The
major additional areas of risk include [describe]. Additional procedures to address these
major risks are [describe].


20.     Senior Manager Approval
A firm’s AML compliance program must be approved, in writing, by a member of senior
management.

TEXT EXAMPLE: Senior management has approved this AML compliance program in
writing as reasonably designed to achieve and monitor our firm’s ongoing compliance
with the requirements of the BSA and the implementing regulations under it. This
approval is indicated by signatures below.




                                            48
   Case 1:17-cv-04179-DLC Document 75-13 Filed 12/14/17 Page 49 of 49




Rules: 31 C.F.R. § 103.120; FINRA Rule 3310.


Signed:

Title:

Date:




                                        49
